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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,

                   Plaintiff,
                                          Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,

                   Defendant.



      DEFENDANT’S COMBINED MEMORANDUM IN SUPPORT OF HIS
    MOTION TO DISMISS AND IN OPPOSITION TO THE UNITED STATES’
  EMERGENCY APPLICATION FOR TEMPORARY RESTRAINING ORDER AND
              MOTION FOR PRELIMINARY INJUNCTION




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                                            INTRODUCTION

       If the First Amendment stands for anything, it is that the Government does not have the

power to clasp its hand over the mouth of a citizen attempting to speak on a matter of great public

import. “Prior restraint upon speech suppresses the precise freedom which the First Amendment

sought to protect against abridgment,” Carroll v. President & Comm’rs of Princess Anne, 393 U.S.

175, 181 (1968), and political speech “is the essence of First Amendment expression,” McIntyre

v. Ohio Elections Comm’n, 514 U.S. 334, 347 (1995). Prior restraints on political speech strike at

the heart of the American constitutional tradition, and for that reason, the Supreme Court has

refused to countenance them even where the Government has asserted that “the information to be

revealed threatens ‘grave and irreparable’ injury to the public interest.” New York Times Co. v.

United States, 403 U.S. 713, 732 (1971) (White, J., concurring).

       Heedless of this tradition, the Government, at the behest of the White House, asks this

Court to issue a prior restraint order suppressing the speech of his former National Security

Advisor, Ambassador John R. Bolton, for the transparent purpose of preventing Ambassador

Bolton from revealing embarrassing facts about the President’s conduct in office. It is difficult to

conceive of speech that is closer to the core of the First Amendment than speech concerning

presidential actions in office, including actions at the heart of the President’s impeachment, and it

is difficult to conceive of a greater attack on the First Amendment than the suppression of that

speech in the service of a reelection campaign. But that, we respectfully submit, is precisely what

is happening in this case.

       Ambassador Bolton has written a memoir, The Room Where It Happened, describing his

interactions with President Trump during the eighteen-month period in which he served as

National Security Advisor to the President. Ambassador Bolton, who has decades of experience



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properly dealing with classified information, diligently and conscientiously attempted to avoid

including anything in the book that would reveal classified information. 1 Out of an abundance of

caution, he submitted the manuscript to the National Security Council (NSC) for prepublication

security review. The career professionals regularly charged with conducting such reviews, Ellen

Knight, the NSC’s Senior Director for Records, Access, and Information Security Management,

and a member of her staff, personally undertook a painstaking, iterative prepublication

examination that lasted almost four months, going through the nearly 500-page manuscript in four

waves, page by page and often line by line, and directing Ambassador Bolton to make a host of

revisions. 2 At the end of that review, on April 27, Ms. Knight informed Ambassador Bolton “that’s

the last edit I really have to provide for you,” 3 confirming her agreement that there was no

classified information in the revised manuscript, and that he should receive the pro-forma

customary letter confirming that he was authorized to publish it. Indeed, the Government concedes

in its complaint that at the conclusion of her exhaustive prepublication review, Ms. Knight “was

of the judgment that the manuscript draft did not contain classified information.” Compl., Doc. 1

¶ 46. At that moment, Ambassador Bolton fulfilled any obligation he had under the express terms

of his non-disclosure agreement with the Government.

       Nevertheless, the President, and those acting at his direction, have sought to delay

publication of the book until after the election by withholding the customary pro-forma letter

confirming that the book was cleared for publication. When it became obvious that the

prepublication review process had been abused in an effort to suppress Ambassador Bolton’s


       1
         Bolton Decl., Ex. A ¶ 3. All exhibits refer to those attached to this brief unless otherwise
specified.
       2
           Id. ¶ 6.
       3
           Id. ¶ 16.

                                                 3
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speech, Ambassador Bolton and his publisher, Simon & Schuster, set the book for release (after

two postponements of the release date to accommodate the prepublication review) on June 23,

2020. While the Government seeks to dispute Ms. Knight’s considered judgment, its claim is, quite

simply, a regrettable pretext designed to cover up what is in fact a determined political effort to

suppress Ambassador Bolton’s speech.

       But the Court need not, and indeed cannot, reach the First Amendment issues raised by the

Government’s request for a prior restraint. For the Government is asking the Court to order

Ambassador Bolton to do something he is powerless to do. The practical reality is that neither

Ambassador Bolton nor his publisher, Simon & Schuster, has any ability to stop copies from being

sold to the general public on June 23. Indeed, the surreal nature of the Government’s request to

enjoin publication and distribution of the book was driven home earlier today when a CBS News

reporter, holding a copy of the book in her hand, questioned the President’s press secretary about

passages in the book on the White House lawn. 4 The Government’s motion for a temporary

restraining order and preliminary injunction should be denied, and all claims against Ambassador

Bolton should be dismissed.

                                          STATEMENT

       Ambassador Bolton has had a long and distinguished career serving his country as a senior

official in multiple presidential administrations. Prior to his time as National Security Advisor for

President Trump, Ambassador Bolton served in numerous capacities under Presidents Ronald

Reagan, George H.W. Bush, and George W. Bush. 5 For example, he served as Assistant Attorney

General for the Civil Division under President Reagan, Assistant Secretary for International


       4
             Paula Reid      (@PaulaReidCBS),        TWITTER    (Jun.   18,   2020,    8:29    AM),
https://bit.ly/37NU9q3.
       5
           Bolton Decl., Ex. A ¶ 1.

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Organization Affairs at the Department of State under President George H. W. Bush, and as

Ambassador to the United Nations under President George W. Bush. 6

       When he became National Security Advisor, Ambassador Bolton was required to sign two

form nondisclosure agreements: the Classified Information Nondisclosure Agreement (the

“Classified Information NDA”) 7 and the Sensitive Compartmented Information Nondisclosure

Agreement (the “SCI NDA”). 8 As indicated by the “Unclassified” marking at the top of each

agreement, the contents of these agreements are not classified. 9

       The Classified Information NDA does not impose an obligation on the signatory to submit

to a prepublication review process in all cases. If the signatory knows that information is classified,

the signatory may disclose the information only if he or she has either “officially verified that the

recipient has been properly authorized by the United States Government to receive it” or “been

given prior written notice of authorization from the United States Government Department or

Agency (hereinafter Department or Agency) responsible for the classification of information or

last granting [the signatory] a security clearance that such disclosure is permitted.” 10 By contrast,

“if [the signatory is] uncertain about the classification status of information, [the signatory is]


       6
           Id.
       7
           Classified Information NDA, Ex. D.
       8
           SCI NDA, Ex. C.
       9
        Because the agreements are not classified, only the signatories’ social security numbers
have been redacted.
       10
            Classified Information NDA, Ex. D ¶ 3. The agreement, in Paragraph 1, defines
“classified information” as follows: “marked or unmarked classified information, including oral
communications, that is classified under the standards of Executive Order 13526, or under any
other Executive order or statute that prohibits the unauthorized disclosure of information in the
interest of national security; and unclassified information that meets the standards for classification
and is in the process of a classification determination as provided in sections 1.1, 1.2, 1.3 and
1.4(e) of Executive Order 13526, or under any other Executive order or statute that requires
protection for such information in the interest of national security.” Id. ¶ 1.

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required to confirm from an authorized official that the information is unclassified before [the

signatory] may disclose it . . . .” 11

        Paragraphs 4 through 6 of the Classified Information NDA lay out the potential

consequences for violation of the agreement. Paragraph 4 warns that failure to comply with the

procedures established in Paragraph 3 “may result,” inter alia, in “termination of any security

clearances [the signatory] hold[s].” 12 It also warns that “any unauthorized disclosure of classified

information by [the signatory] may constitute a violation, or violations, of United States criminal

laws.” 13 In addition, Paragraph 6 warns that “the United States Government may seek any remedy

available to it to enforce this Agreement including, but not limited to, application for a court order

prohibiting disclosure of information in breach of this Agreement.” 14 Finally, Paragraph 5

“assign[s] to the United States Government all royalties, remunerations, and emoluments that have

resulted, will result or may result from any disclosure, publication, or revelation of classified

information not consistent with the terms of this Agreement.” 15 This provision purports to

authorize the Government “to impose a constructive trust on” any profits the signatory might

derive from the publication of any information in violation of the Classified Information NDA.

Snepp v. United States, 444 U.S. 507, 516 (1980).

        In contrast with the Classified Information NDA, the SCI NDA establishes a mandatory

prepublication review process for those granted access to SCI, which the agreement defines as




        11
             Id. ¶ 3.
        12
             Id. ¶ 4.
        13
             Id.
        14
             Id. ¶ 6.
        15
             Id. ¶ 5.

                                                  6
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information that “involves or derives from intelligence sources or methods and is classified or is

in the process of classification.” 16 Paragraph 4 of the SCI NDA required Ambassador Bolton to

       submit for security review . . . any writing or other preparation in any form . . . that
       contains or purports to contain any SCI or description of activities that produce or
       relate to SCI or that [he] ha[s] reason to believe are derived from SCI, that [he]
       contemplate[s] disclosing to any person not authorized to have access to SCI or that
       [he] ha[s] prepared for public disclosure. 17

Paragraph 5 of the SCI NDA states that “the purpose of the [prepublication] review described in

paragraph 4 is to give the United States a reasonable opportunity to determine whether the

preparation submitted pursuant to paragraph 4 sets forth any SCI.” 18 Paragraph 5 also imposes a

time limit of “30 working days from date of receipt” of the material to “act upon it . . . and make

a response.” 19 The SCI NDA forbids Ambassador Bolton from disclosing any writing subject to

prepublication review “until [he] ha[s] received written authorization from the Department or

Agency that last authorized [his] access to SCI that such disclosure is permitted.” 20 Paragraphs 6,

7, and 12 of the SCI NDA provide for materially similar potential consequences for violation of

the agreement as for violation of the Classified Information NDA. 21

       The criteria used by the Executive Branch to determine whether information is classified

is found in Executive Order No. 13526, 75 Fed. Reg. 707, 708 (Dec. 29, 2009). See Shaffer v. Def.

Intelligence Agency, 102 F. Supp. 3d 1, 8 (D.D.C. 2015). Section 1.2(a) of Executive Order 13526




       16
            SCI NDA, Ex. C ¶ 1.
       17
            Id. ¶ 4.
       18
            Id. ¶ 5.
       19
            Id.
       20
            Id. ¶ 4.
       21
            See id. ¶¶ 6–7, 12.

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describes the type of harm that must reasonably be expected to result from the disclosure of

information for such information to be classified:

        Information may be classified at one of the following three levels:

                (1) ‘‘Top Secret’’ shall be applied to information, the unauthorized
                    disclosure of which reasonably could be expected to cause exceptionally
                    grave damage to the national security that the original classification
                    authority is able to identify or describe.

                (2) ‘‘Secret’’ shall be applied to information, the unauthorized disclosure
                    of which reasonably could be expected to cause serious damage to the
                    national security that the original classification authority is able to
                    identify or describe.

                (3) ‘‘Confidential’’ shall be applied to information, the unauthorized
                    disclosure of which reasonably could be expected to cause damage to
                    the national security that the original classification authority is able to
                    identify or describe.

75 Fed. Reg. 707–08. Section 1.4 of Executive Order 13526 describes the type of information that

is subject to potential classification:

        Information shall not be considered for classification unless its unauthorized
        disclosure could reasonably be expected to cause identifiable or describable
        damage to the national security in accordance with section 1.2 of this order, and it
        pertains to one or more of the following:

                (a) military plans, weapons systems, or operations;

                (b) foreign government information;

                (c) intelligence activities (including covert action), intelligence sources or
                    methods, or cryptology;

                (d) foreign relations or foreign activities of the United States, including
                    confidential sources;

                (e) scientific, technological, or economic matters relating to the national
                    security;

                (f) United States Government programs for safeguarding nuclear materials
                    or facilities;



                                                  8
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                  (g) vulnerabilities or capabilities of systems, installations, infrastructures,
                      projects, plans, or protection services relating to the national security;
                      or

                  (h) the development, production, or use of weapons of mass destruction.

Id. at 709.

        Section 1.7(a) of Executive Order 13526 warns that “[i]n no case shall information be

classified, continue to be maintained as classified, or fail to be declassified in order to,” inter alia,

“conceal violations of law,” “prevent embarrassment to a person, organization, or agency,” or

“prevent or delay the release of information that does not require protection in the interest of the

national security.” Id. at 710.

        Given his extensive government career in matters relating to national security and foreign

policy, Ambassador Bolton was and is an expert on what constitutes classified information and the

proper handling of such information. 22 He therefore took care to ensure that the manuscript of his

book did not contain or reveal classified information. 23 Nonetheless, so that there could be no

question of his compliance with his obligations, Ambassador Bolton directed his counsel, Charles

J. Cooper, to submit the manuscript to the NSC for prepublication review. 24 Mr. Cooper emailed

Defendant Ellen J. Knight on December 30, 2019, asking to “discuss with [her] the process for

securely submitting for prepublication review a hard copy of the manuscript of a book that Mr.

Bolton [was] preparing for publication.” 25 As noted above, Ms. Knight is the Senior Director who

supervises the office responsible for overseeing the prepublication review process at the NSC. The


        22
             Bolton Decl., Ex. A ¶ 2.
        23
             Id. ¶ 3.
        24
             Id. ¶ 4.
        25
          See Email from Charles J. Cooper to Ellen Knight, Senior Director for Records, Access,
and Information Security Management, National Security Council (Dec. 30, 2019, 11:34 AM), Ex.
E; see also Doc. 1 ¶ 31.

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Government concedes that Ms. Knight is the senior career official responsible for reviewing

proposed written works to ensure that they do not include classified information. 26 Mr. Cooper and

Ms. Knight spoke by phone later that same day. During the call, Mr. Cooper noted that Ambassador

Bolton’s manuscript contained information relating to the Ukraine controversy giving rise to the

then-pending impeachment proceedings, and that Ambassador Bolton was relying on regulations

restricting the scope of prepublication review to identifying and preventing the disclosure of

classified information and limiting the review process to those career government officials

regularly charged with that responsibility. Ms. Knight assured Mr. Cooper that “the sole purpose

of prepublication security review is to ensure that SCI or other classified information is not

publicly disclosed.” 27

       Immediately following the phone call, on December 30, 2019, specifically relying on this

understanding of the limited purpose of the prepublication review process, Ambassador Bolton

(via Mr. Cooper) hand-delivered a hard copy of his manuscript to Ms. Knight’s office. 28 Mr.

Cooper included a cover letter reiterating that Ambassador Bolton “carefully sought to avoid any

discussion in the manuscript of sensitive compartmented information (‘SCI’) or other classified

information, and [he] accordingly do[es] not believe that prepublication review is required.”29

Ambassador Bolton “nonetheless submitt[ed] [h]is manuscript out of an abundance of caution.30

Mr. Cooper emphasized that Ambassador Bolton was relying upon his understanding that the




       26
            See Doc. 1 ¶¶ 25–27, 30.
       27
         See Letter from Charles J. Cooper to Ellen Knight, Senior Director for Records, Access,
and Information Security Management, National Security Council (Dec. 30, 2019), Ex. F at 1.
       28
            Id. at 1; Doc. 1 ¶ 31.
       29
            Ex. F at 1; Doc. 1 ¶ 31.
       30
            Ex. F at 1; Doc. 1 ¶ 31.

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contents of the manuscript would not be shared with anyone other than the career officials regularly

involved in conducting such reviews. Ex. F at 1. While the Government now alleges that this

understanding was “erroneous,” Doc. 1 ¶ 31, at no point did Ms. Knight or anyone else at the

White House correct his understanding. Ms. Knight confirmed receipt of the manuscript at 2:50

p.m. on December 30, 2019, and stated “we will begin the review process. I will be in-touch.” 31

        On January 23, at 3:33 p.m., as the impeachment trial of the President was underway in the

United States Senate, Ms. Knight emailed Mr. Cooper and attached a letter stating:

        Based on our preliminary review, the manuscript appears to contain significant
        amounts of classified information. It also appears that some of this classified
        information is at the TOP SECRET level, which is defined by Executive Order
        13526 as information that “reasonably could be expected to cause exceptionally
        grave harm to the national security” of the United States if disclosed without
        authorization. Under federal law and the nondisclosure agreements your client
        signed as a condition for gaining access to classified information, the manuscript
        may not be published or otherwise disclosed without the deletion of this classified
        information. 32

Ms. Knight’s letter closed by promising to provide “additional, more detailed guidance regarding

next steps that should enable you to revise the manuscript and move forward as expeditiously as

possible.” 33

        On January 26, the New York Times published an article purporting to describe passages

from Ambassador Bolton’s manuscript that bore on the ongoing impeachment trial. The Times

stated that “President Trump told his national security adviser in August that he wanted to continue

freezing $391 million in security assistance to Ukraine until officials there helped with


        31
       Email from Ellen Knight, Senior Director for Records, Access, and Information Security
Management, National Security Council, to Charles J. Cooper, (Dec. 30, 2019, 2:50 PM), Ex. G.
        32
       Letter from Ellen Knight, Senior Director for Records, Access, and Information Security
Management, National Security Council, to Charles J. Cooper (Jan. 23, 2020), Ex. H; see Doc. 1
¶ 33.
        33
             Ex. H; Doc. 1 ¶ 33.

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investigations into Democrats including the Bidens, according to an unpublished manuscript by

the former adviser, John R. Bolton.” 34 Mr. Cooper issued a statement quoted in the Times article:

“It is clear, regrettably, from the New York Times article published today that the pre-publication

review process has been corrupted and that information has been disclosed by persons other than

those properly involved in reviewing the manuscript.” 35

       On January 29, Senator Martin Heinrich of New Mexico asked the following question of

the President’s lawyers during the impeachment trial:

       When did the President’s Counsel first learn that the Bolton manuscript had been
       submitted to the White House for review, and has the President’s counsel or anyone
       else in the White House attempted in any way to prohibit, block, disapprove, or
       discourage John Bolton, or his publisher, from publishing his book?

166 CONG. REC. S645, S660 (daily ed. Jan. 29, 2020) (statement of Sen. Heinrich). In response,

Patrick F. Philbin, Deputy Counsel to the President and one of the President’s defense lawyers

during the impeachment trial, read into the Senate record Ms. Knight’s January 23 letter to Mr.

Cooper. Id. at S660–61 (statement of Mr. Counsel Philbin). Mr. Philbin also stated that, sometime

after Ambassador Bolton’s manuscript was submitted to the NSC, “[t]he White House Counsel’s

Office was notified that it was there. The NSC has released a statement explaining that it has not

been reviewed by anyone outside NSC staff.” Id. at S660.

       Later that day, the President asserted on Twitter that after he fired Ambassador Bolton, he

had “go[ne] out and IMMEDIATELY writ[ten] a nasty & untrue book. All Classified National




       34
         Maggie Haberman and Michael S. Schmidt, Trump Tied Ukraine Aid to Inquiries He
Sought, Bolton Book Says, N.Y. TIMES (Jan. 26, 2020), https://nyti.ms/2S71JVd.
       35
          Id. The Government’s baseless insinuation that Ambassador Bolton was the source of
the disclosure to the press is completely and categorically false. Bolton Decl., Ex. A ¶ 8.

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Security.” 36 Of course, the President could not have offered this assessment of the content of the

Ambassador’s book unless he had read the manuscript or been briefed on its contents, and the

President’s tweet expressly linked his assertion that “All” the material in the manuscript is

“Classified National Security” with his personal hostility toward Ambassador Bolton and the

content of the Ambassador’s book.

       On February 3, Vanity Fair reported that “the president is out for revenge against his

adversaries.” 37 The article stated that the President “has an enemies list,” “Bolton is at the top of

the list,” and the “campaign against Bolton” included Ms. Knight’s January 23 letter asserting that

the manuscript contained classified information. 38 It also reported that the President “wants Bolton

to be criminally investigated.” 39

       On February 7, Ms. Knight sent Mr. Cooper a letter asserting that the manuscript “contains

classified discussions between the President and foreign heads of state, classified foreign

government information, details about classified military plans and operations, and classified

details about intelligence sharing and activities.” 40 Ms. Knight offered to meet with Ambassador

Bolton “to review each instance of classified information in detail and, as necessary, assist in the

prioritization of any particular portions.” 41 She asserted that her February 7 letter, along with her



       36
             Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 29, 2020, 7:28 AM),
https://bit.ly/30QPvWW.
       37
         See Gabriel Sherman, “It’s Payback Time”: With Acquittal Certain, Trump Plots
Revenge on Bolton, Impeachment Enemies, VANITY FAIR (Feb. 3, 2020), https://bit.ly/2C2irkp.
       38
            Id.
       39
            Id.
       40
        Letter from Ellen Knight, Senior Director for Records, Access, and Information Security
Management, National Security Council, to Charles J. Cooper (Feb. 7, 2020), Ex. I at 1; see Doc.
1 ¶ 40.
       41
            Ex. I at 1; see Doc. 1 ¶ 40.

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January 23 letter, “constitute NSC’s initial response for the purposes of the nondisclosure

agreements signed by [Ambassador Bolton].” 42

       On February 21, the Washington Post reported that

       President Trump has directly weighed in on the White House [prepublication]
       review of a forthcoming book by his former national security adviser, telling his
       staff that he views John Bolton as ‘a traitor,’ that everything he uttered to the
       departed aide about national security is classified and that he will seek to block the
       book’s publication. 43

The story also reported that the President vowed to a group of television news anchors that “we’re

going to try and block the publication of [his] book. After I leave office, he can do this.” 44

       Ambassador Bolton’s first meeting with Ms. Knight also took place on February 21. 45 In

the meeting, which lasted four hours, Ms. Knight, as she described it, “reviewed the preliminary

results of three chapters in the draft manuscript in detail with” Ambassador Bolton. 46 Ambassador

Bolton took five pages of handwritten notes, as he and Ms. Knight discussed her specific concerns

page by page, line by line, and sometimes word by word. 47 Three days later, on February 24, Ms.

Knight wrote that the meeting had been “most productive,” and she suggested that “it would be

most helpful to the process if we hold one or more following meetings . . . to discuss the remaining

portions of the draft manuscript.” 48


       42
            Ex. I at 2.
       43
          See Josh Dawsey, Tom Hamburger, and Carol D. Leonnig, Trump wants to block
Bolton’s book, claiming most conversations are classified, THE WASHINGTON POST (Feb. 21,
2020), https://wapo.st/2AuWEBs.
       44
            Id.
       45
          See Letter from Ellen Knight, Senior Director for Records, Access, and Information
Security Management, National Security Council, to Charles J. Cooper (Feb. 24, 2020), Ex. J;
Doc. 1 ¶ 41.
       46
            Ex. J; see Doc. 1 ¶ 41.
       47
            Bolton Decl., Ex. A ¶ 10.
       48
            See Ex. J at 1; Doc. 1 ¶ 41.

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       Ambassador Bolton met with Ms. Knight three more times, on March 2 (approximately

four hours), March 3 (over four hours), and March 4 (approximately three hours). 49 In these

meetings, Ambassador Bolton and Ms. Knight reviewed in meticulous detail each of her concerns

in the remaining 11 chapters and produced 34 pages of handwritten notes. 50 Following his notes

and the guidance provided by Ms. Knight, Ambassador Bolton revised his manuscript, and by

March 9 had resubmitted all 14 chapters to begin the second round of the iterative review process. 51

       Ambassador Bolton did not hear from Ms. Knight again until March 27, when she wrote:

       I appreciate your efforts to address the classification concerns in the latest draft
       version you submitted. Many of the changes are satisfactory. However, additional
       edits are required to ensure the protection of national security information. To assist
       in making the additional required changes, I will provide a list of required edits and
       language substitutions to guide you in this next stage of revising the draft. 52

Her list amounted to 17 typed, single-spaced pages of comments, questions, suggestions of specific

alternative language, and citations to publicly available source material. 53 Working through the

weekend, Ambassador Bolton responded to all 17 pages on Monday, March 30, accepting the vast

majority of Ms. Knight’s suggestions and proposing alternative solutions to others. 54

       In a telephone conversation on April 13, Ms. Knight provided Ambassador Bolton her

much shorter list of remaining concerns after reviewing his March 30 revisions. 55 Their

conversation resulted in entirely agreed-upon language changes, which Ambassador Bolton


       49
            See Bolton Decl., Ex. A ¶ 12; Doc. 1 ¶ 42.
       50
            Bolton Decl., Ex. A ¶ 12.
       51
            Id.
       52
         See Email from Ellen Knight, Senior Director for Records, Access, and Information
Security Management, National Security Council, to John Bolton, Former National Security
Advisor, National Security Council (Mar. 27, 2020, 3:52 PM), Ex. K; Doc. 1 ¶ 44.
       53
            Ex. P; Doc. 1 ¶ 44.
       54
            Bolton Decl., Ex. A ¶¶ 13–14; Doc. 1 ¶¶ 44–45.
       55
            Bolton Decl., Ex. A ¶ 15; Doc. 1 ¶ 45.

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delivered to Ms. Knight the next day, April 14. 56 During the April 13 call, Ms. Knight also said

she would review the entire manuscript one more time, to recheck the issues previously resolved

and ensure that she had not overlooked any. 57

       That final review resulted in two further telephone calls, on April 21 and 24, in which Ms.

Knight conveyed her final round of edits and some additional citations to publicly available

sources. 58 Ambassador Bolton promptly responded with the requested revisions, and on April 27,

Ms. Knight, after clarifying one previously discussed edit, confirmed “that’s the last edit I really

have to provide for [Ambassador Bolton].” 59 All told, over the course of four months, Ambassador

Bolton and Ms. Knight made four passes through the manuscript, and at the end of this painstaking

process, Ms. Knight confirmed that the manuscript contained no classified information. Again, the

Government concedes that the senior NSC official responsible for determining whether proposed

publications contain classified information concluded that Ambassador Bolton’s book, as revised,

contained none. Doc. 1 ¶ 46

       When Ambassador Bolton asked on April 27 when he could expect to receive the pro-

forma closing letter confirming her agreement that the book contained no classified information,

Ms. Knight cryptically replied that her “interaction” with unnamed others in the White House

about the book had “been very delicate,” and that there were “some internal process considerations

to work through.” 60 She nonetheless thought the letter might be ready that afternoon but would




       56
            Bolton Decl., Ex. A ¶ 15; Doc. 1 ¶ 45.
       57
            Bolton Decl., Ex. A ¶ 15.
       58
            Id. ¶ 16; see Doc. 1 ¶ 45.
       59
            Bolton Decl., Ex. A ¶ 16; Doc. 1 ¶ 46.
       60
            Bolton Decl., Ex. A ¶ 17.

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“know more by the end of the day.” 61 Ambassador Bolton and Ms. Knight also discussed whether

the letter should be transmitted by electronic transmission or whether Ambassador Bolton should

pick up a hard copy from Ms. Knight’s office. 62

        Ambassador Bolton’s subsequent inquiries of Ms. Knight as to when he would receive the

letter clearing the book for publication were answered with formal replies that the process was

ongoing and that she had nothing new to report. 63 It soon became obvious that the White House

had no intention of permitting Ms. Knight to issue the clearance letter, but instead was attempting

to run out the clock before the election by simply refusing to respond to Ambassador Bolton’s

requests. In light of Ms. Knight’s approval of the manuscript on April 27, Ambassador Bolton

notified his publisher, Simon & Schuster, which thereafter scheduled the book for release on June

23, 2020. 64

        Six weeks of silence from the NSC had passed when, on June 8, following press reports

that Ambassador Bolton intended to publish his book on June 23, John Eisenberg, Deputy White

House Counsel and the NSC’s counsel, wrote to Ambassador Bolton’s counsel claiming that

manuscript still contained classified information. 65 Mr. Eisenberg said he would “provide

[Ambassador Bolton’s counsel], no later than June 19, 2020, a copy of your client’s draft

manuscript with redactions for the information that has been identified as classified.” 66




        61
             Id.
        62
             Id.
        63
             Id. ¶ 18.
        64
             Id. ¶ 19.
        65
         See Letter from John Eisenberg, Legal Advisor, National Security Council, to Charles J.
Cooper (Jun. 8, 2020), Ex. L; Doc. 1 ¶ 54.
        66
             Ex. L.

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       On June 10, Ambassador Bolton’s counsel wrote to Mr. Eisenberg, explaining that the

White House was clearly attempting to suppress Ambassador Bolton’s book, that Ambassador

Bolton had fulfilled all of his contractual and any other obligations to the Federal Government,

and that the exhaustive prepublication review conducted by Ambassador Bolton and Ms. Knight

confirmed that, the book, as revised, contained no classified information. 67 In any event, counsel

explained, Simon & Schuster had already printed, bound, and shipped the book to booksellers

across the country, and Ambassador Bolton has no authority to stop the book from being made

available to the public on June 23. 68 In fact, thousands of copies of the book have also been printed

in Australia and the United Kingdom, and thousands of books have been shipped to Canada and

India for sales in those countries beginning on June 23. 69 A significant number of advance

“review” copies of the book have also been provided to a select group of major newspapers and

other mass audience outlets. 70 Indeed, both the New York Times and the Washington Post have

obtained copies of the book and have published stories recounting incidents that Ambassador

Bolton described in the book. 71 There is nothing that Ambassador Bolton can do to stop the book

from becoming public on June 23; indeed, it is already public.

       On June 15, in response to a question about why his administration was planning to file

this lawsuit, the President openly admitted that his classification decisions are not based on specific


       67
          See Letter from Charles J. Cooper to John Eisenberg, Legal Advisor, National Security
Council (Jun. 10, 2020), Ex. M.
       68
            Id.; Doc. 1 ¶ 55.
       69
            Bolton Decl., Ex. A ¶ 21.
       70
            Id.
       71
          Peter Baker, Bolton Says Trump Impeachment Inquiry Missed Other Troubling Actions,
N.Y. TIMES (June 17, 2020), https://nyti.ms/2UWziLU; Josh Dawsey, Trump asked China’s Xi to
help him win reelection, according to Bolton book, WASH. POST. (June 17, 2020),
https://wapo.st/2BeET9E.

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national-security concerns but instead encompass anything he says while in office: “I told that to

the attorney general before; I will consider every conversation with me as president highly

classified. So that would mean that if he wrote a book, and if the book gets out, he’s broken the

law.” See Press Conference, President Donald J. Trump at 0:54–1:05, (Jun. 15, 2020) (emphasis

added), https://politi.co/2Y2Vo1i. The President reiterated: “Any conversation with me is

classified.” Id. at 4:18–21. The President added that “a lot of people are very angry with [Bolton]

for writing a book” and that he “hope[d]” that Ambassador Bolton “would have criminal

problems” for publishing the book. Id. at 1:05–08, 1:30–36.

       On June 16, the Government delivered to Ambassador Bolton a copy of the book with

wholesale redactions indicating the passages that it purportedly believes contain classified

information. 72 The Government’s redactions are extensive and sweeping, apparently eliminating

passages describing or recounting a significant majority of the President’s conversations with his

advisors and with foreign leaders. 73 The Government also deleted numerous passages portraying

President Trump in an unflattering light. 74 Along with the redacted copy, the Government sent a

cover letter from Deputy Assistant to the President Michael J. Ellis, who asserted that the

redactions were “based on [his] initial review.” 75 The Government filed this lawsuit hours later,

and it moved for a temporary restraining order or preliminary injunction on June 17.




       72
            Bolton Decl., Ex. A ¶ 23.
       73
            Id.
       74
            Id.
       75
          Letter from Michael J. Ellis, Deputy Assistant to the President, to John R. Bolton (Jun.
16, 2020), Ex. N.

                                                19
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       In the pages that follow, we first explain why the Government’s complaint must be

dismissed in toto for failure to state a claim. We then turn to our opposition to the Government’s

motion for preliminary-injunctive relief.

                                            ARGUMENT

                        MOTION TO DISMISS UNDER RULE 12(b)(6)

       “To survive a [Rule 12(b)(6)] motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (internal quotation omitted). The complaint meets this standard “when

the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Id. “A complaint must provide ‘more than labels

and conclusions’; although it ‘does not need detailed factual allegations,’ the factual allegations

‘must be enough to raise a right to relief above the speculative level.’ ” Washington All. of Tech.

Workers v. United States Dep’t of Homeland Sec., 892 F.3d 332, 343 (D.C. Cir. 2018) (quoting

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

       The Government’s complaint fails to state a claim for relief and should be dismissed. As

noted above, Ambassador Bolton signed two separate NDAs: the SCI NDA and the Classified

Information NDA. The SCI NDA expressly states that it only governs SCI: “This Agreement

concerns SCI and does not set forth such other conditions and obligations not related to SCI as

may now or hereafter pertain to my employment by or assignment or relationship with the

Department or Agency.” 76 While the Government points out that Ambassador Bolton had access

to SCI during his time as National Security Advisor, see Doc. 1 ¶¶ 7, 21, nowhere in its complaint

does the Government assert that Ambassador Bolton’s manuscript contains SCI. To the contrary,


       76
            Compl., Ex. A (SCI NDA), Doc. 1-1 ¶ 10; see also id. ¶ 4.

                                                  20
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the complaint alleges that the manuscript still contains information “classified at the Confidential,

Secret and Top Secret levels.” See id. ¶ 58. 77 Thus, the SCI NDA does not apply, and the complaint

must be dismissed insofar as its claims purport to be based on violation of the SCI NDA. (We

acknowledge that the Government’s brief now asserts—for the first time in all the oral

communications, correspondence, and papers exchanged by the parties—that his book contains

SCI. That assertion—which this Court must ignore for purposes of adjudicating Defendant’s Rule

12(b)(6) motion—does not change the analysis, for reasons discussed on pages 34–37, infra).

       Unlike the SCI NDA, the Classified Information NDA (also known as Standard Form

(“SF”) 312) imposes an obligation on the signatory to submit to a prepublication review process

only if he either knows that the information is classified or is “uncertain about the classification

status” of the information. 78 Paragraph 4 of the agreement provides:

       I hereby agree that I will never divulge classified information to anyone unless: (a)
       I have officially verified that the recipient has been properly authorized by the
       United States Government to receive it; or (b) I have been given prior written notice
       of authorization from the United States Government Department or Agency
       (hereinafter Department or Agency) responsible for the classification of
       information or last granting me a security clearance that such disclosure is
       permitted. I understand that if I am uncertain about the classification status of
       information, I am required to confirm from an authorized official that the
       information is unclassified before I may disclose it . . . . 79

       77
           Again, the SCI NDA makes clear that SCI is a special category of “information or
material protected within Special Access Programs,” specifically defining it as information that
“involves or derives from Intelligence sources or methods and is classified or is in process of a
classification determination under the standards of Executive Order 13526 or other Executive
order or statute.” Id. ¶ 1. As the Government admits in is complaint, “Sensitive Compartmented
Information is a subset of Classified National Intelligence concerning or derived from intelligence
sources, methods or analytical processes that is required to be protected within formal access
control systems established by the Director of National Intelligence.” Doc. 1 ¶ 7 n.1 (emphasis
added).
       78
        “SF 312 itself does not mandate prepublication review . . . .” Kevin Casey, Till Death
Do Us Part: Prepublication Review in the Intelligence Community, 115 COLUM. L. REV. 417, 431
(2015).
       79
            Compl, Ex. A (Classified Information NDA), Doc. 1-1 ¶ 3.

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        The Government relies on this language as requiring authors to obtain written confirmation

that the information to be disclosed is not classified. It clearly does not. To the contrary, it is clear

from its plain language that the obligation to obtain “prior written notice of authorization” from

the Government applies only to information that the employee is certain is classified. Indeed, if an

employee was required to obtain such written authorization even for information about whose

classification status the employee is uncertain, the Classified Information NDA’s instruction that

“if I am uncertain about the classification status of information, I am required to confirm from an

authorized official that the information is unclassified before I may disclose it” would be

superfluous, violating one of the most basic principles of contract interpretation. See T. Brown

Constructors, Inc. v. Pena, 132 F.3d 724, 730–31 (Fed. Cir. 1997) (“A contract should be

interpreted, if possible, to give effect to all provisions. An interpretation which renders portions

of the contract meaningless, useless, ineffective, or superfluous should be eschewed.” (citation

omitted)); see also 11 WILLISTON ON CONTRACTS § 32:5 (4th ed.); RESTATEMENT (SECOND) OF

CONTRACTS § 203(a) (1981).

        Interpreting the “written notice of authorization” requirement according to its plain

language—as applying only to information that the author knows to be classified—is also

consistent with the principle that specific contract terms—those governing the precise situation at

hand—prevail over more general contract terms, and the contract contains a specific term

governing the situation where the author is “uncertain” if information is classified. See Hometown

Fin., Inc. v. United States, 409 F.3d 1360, 1369 (Fed. Cir. 2005); 11 WILLISTON ON CONTRACTS §

32:5. It is also consistent with the principle that any ambiguity in a contract is to be construed

against its drafter. See Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 62 (1995);

RESTATEMENT (SECOND) OF CONTRACTS § 206.

                                                   22
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       Finally, this interpretation of the Classified Information NDA is required by the principle

that prior restraints must be interpreted narrowly to avoid doubts about their constitutionality. See

Lowe v. SEC, 472 U.S. 181, 203–11 (1985); United States v. Raymond, 228 F.3d 804, 815 (7th

Cir. 2000), overruled in part on other grounds by Hill v. Tangherlini, 724 F.3d 965 (7th Cir. 2013).

This constitutional-avoidance principle is even stronger in the context of prior restraints, since

normally a prior restraint would “bear[ ] a heavy presumption against its constitutional validity.”

New York Times Co. v. United States, 403 U.S. 713, 714 (1971) (per curiam). 80

       The NSC (setting aside constitutionality concerns) could have customized its own NDA

form and required Ambassador Bolton to sign its NSC-specific NDA in addition to the two

standard NDAs he signed and that are used across the Government. Such a hypothetical NSC-

specific NDA could have required prepublication review for non-classified materials, and it could

have required the author to obtain written authorization before the author could publish. That is

what other agencies have done. For example, the FBI requires its employees to sign the standard

SCI NDA and Classified Information NDA insofar as those employees have access to such

information, 81 but it also requires employees to sign its own NDA that broadly requires

prepublication review for “any information or material from or related to FBI files or any other

information acquired by virtue of [the employee’s] official employment.” 82 And it specifically



       80
          In its brief, the Government collapses the distinction between when a “written notice of
authorization” is required and when the author need only “confirm from an authorized official that
the information [was] unclassified,” see Doc. 3 at 14–15, but as this analysis shows, those
requirements must be analyzed separately.
       81
          FEDERAL BUREAU OF INVESTIGATION RECORDS MANAGEMENT DIVISION,
PREPUBLICATION REVIEW POLICY GUIDE § 6 (2015). FBI and CIA documents discussed herein
may be found at KNIGHT FIRST AMENDMENT INSTITUTE, INTERACTIVE CHART: PREPUBLICATION
REVIEW BY AGENCY AND SECRECY AGREEMENT (Aug. 27, 2019), https://bit.ly/2NamBc6.
       82
            FEDERAL BUREAU OF INVESTIGATION, FBI EMPLOYMENT AGREEMENT ¶ 3.

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forbids disclosure of such information “without prior official written authorization by the FBI.” 83

There is a reason why the FBI imposes broad prepublication review and a specific written-

authorization requirement: such requirements are not imposed by the standard SCI NDA or the

Classified Information NDA that FBI employees—just like NSC employees—must sign.

Similarly, the CIA requires its employees to sign a “Secrecy Agreement” that mandates

prepublication review of any material that “contains any mention of intelligence data or activities”

and specifies that the employee “will not take any steps towards public disclosure until [he or she]

ha[s] received written permission to do so from the Central Intelligence Agency.” 84 In stark

contrast, both of the standard NDAs that Ambassador Bolton signed apply to a much narrower

class of information, and the Classified Information NDA does not require written, as opposed to

oral, authorization “from an authorized official” prior to publication. This contrast further

reinforces the interpretation of the NDAs described above.

          It is undisputed that, when Ambassador Bolton submitted his manuscript to the NSC on

December 30, 2019, he believed that he had “carefully . . . avoid[ed] any discussion in the

manuscript of sensitive compartmented information (‘SCI’) or other classified information” and

that he only “submit[ed] [h]is manuscript out of an abundance of caution.” 85 Because he was

confident that the manuscript did not contain classified information, he had no obligation under

the Classified Information NDA either to seek “written notice of authorization” or to “confirm



          83
               Id. (emphasis added).
          84
               CENTRAL INTELLIGENCE AGENCY, FORM 368, SECRECY AGREEMENT ¶ 5. (emphasis
added).
          85
           Compl., Ex. D, Doc. 1-4, at 1. The Government’s assertion that Ambassador Bolton
“tacitly conceded” that the NDAs applied to his manuscript by submitting it for review is baseless.
Doc. 3 at 11. Ambassador Bolton made it crystal-clear that he “d[id] not believe that prepublication
review [was] required.” Compl., Ex. D, Doc. 1-4, at 1.

                                                24
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from an authorized official that the information [was] unclassified” before publishing the

manuscript. 86 He submitted the manuscript for prepublication review, again, only out of an

abundance of caution.

       At most, then, the provision applying to situations in which the author “is uncertain about

the classification status of information” would apply, and under that provision, Ambassador Bolton

was required only to “confirm from an authorized official that the information is unclassified

before [he] [could] disclose it.” 87 As the Government admits, that is precisely what he did.

Ambassador Bolton submitted his manuscript to the NSC’s Records Access and Information

Security Management Directorate, which “bears primary responsibility for the classification

review of written works submitted to the NSC for the prepublication review process,” and he

engaged in a four-month, exhaustive review of his manuscript with Ms. Knight, “who holds

original classification authority under operative Executive Order” and, as “the Senior Director for

Records Access and Information Security Management at the NSC,” is the “head[ ]” of that office,

Doc. 1 ¶¶ 25–26, 30. The Government concedes that “[o]n or around April 27, 2020, Ms. Knight

had completed her review and was of the judgment that the manuscript draft did not contain

classified information.” Id. ¶ 46. Thus, on April 27, Ambassador Bolton “confirm[ed] from an

authorized official that the information [in his book] is unclassified,” and that pursuant to the

Classified Information NDA, he “may disclose it.” 88 Because Ambassador Bolton has not violated

the Classified Information NDA, any claims based on violation of that agreement must be

dismissed.



       86
            Id., Ex. A (Classified Information NDA), Doc. 1-1 ¶ 3.
       87
            Id.
       88
            Id.

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       The Government asserts that Ambassador Bolton has violated the common law doctrines

of unjust enrichment and fiduciary duty. See Doc. 1 ¶¶ 80–85; Doc. 3 at 10. But these claims are

based on the same conduct underlying the Government’s breach-of-contract claims, and if the

contract claim fails, so also must these claims. See US Airways, Inc. v. McCutchen, 569 U.S. 88,

98 (2013) (“A valid contract defines the obligations of the parties as to matters within its scope,

displacing to that extent any inquiry into unjust enrichment” (quoting RESTATEMENT (THIRD) OF

RESTITUTION AND UNJUST ENRICHMENT § 2(2), p. 15 (2010))); DeGeer v. Gillis, 707 F.Supp.2d

784, 795 (N.D. Ill. 2010) (“Courts have frequently found that claims for breach of contract and

claims for breach of fiduciary duty are duplicative of one another and must be dismissed.” (citation

omitted)); William Kaufman Org., Ltd. v. Graham & James LLP, 703 N.Y.S.2d 439, 442 (N.Y.

2000) The rationale for this rule is that “court[s] will not displace the terms of [a] contract and

impose some other duties not chosen by the parties.” In re APA Assessment Fee Litig., 766 F.3d

39, 46 (D.C. Cir. 2014) (quotation marks and citation omitted). If a contract says that a party must

perform a duty within two years, it cannot be that the party has a fiduciary duty to perform within

one year. In the same way, because the NDAs did not require Ambassador Bolton to obtain written

authorization to publish his book, such a requirement cannot be imposed by fiduciary or unjust-

enrichment principles.

       More importantly, even if the common law permitted such duplicative claims, they would

certainly be barred by the First and Fifth Amendments. In the NDAs, the Government set out in

precise detail the steps that Ambassador Bolton needed to take to remove the prior restraint on his

speech and to avoid civil and criminal penalties. A governmental action “subjecting the exercise

of First Amendment freedoms to [a] prior restraint . . . without narrow, objective, and definite

standards to guide the [governmental] authority, is unconstitutional.” Shuttlesworth v. City of



                                                26
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Birmingham, 394 U.S. 147, 150–51 (1969); see also Forsyth Cty. v. Nationalist Movement, 505

U.S. 123, 130 (1992). It would be a clear violation of the First Amendment to allow the

Government to prolong its censorship of Ambassador Bolton or to punish him for his speech based

on an alleged violation of unwritten obligations going beyond the duties expressly set forth in the

contracts. Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 553 (1975); see also Niemotko v.

Maryland, 340 U.S. 268, 271–73 (1951).

       In the same way, it would violate the Due Process Clause of the Fifth Amendment to

subject Ambassador Bolton to the forfeiture of any remuneration for his book and to threaten him

with potential criminal liability based on unwritten procedures or duties even though he complied

with the contracts specifying how he could avoid such penalties. See Vill. of Hoffman Estates v.

Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499 (1982) (“If . . . the law interferes with the right

of free speech or of association, a more stringent vagueness test should apply.”); see also Sessions

v. Dimaya, 138 S. Ct. 1204, 1212–13 (2018) (plurality opinion); see also id. at 1228–29 (Gorsuch,

J., concurring in part and concurring in the judgment). 89 Accordingly, the allegations of the

complaint fail to state a claim, and this case must be dismissed.




       89
          The Due Process violation is compounded by the Government’s arbitrary and irregular
deviation from the normal NSC prepublication review process. As the Government admits, the
normal prepublication-review process would entail “a first-level review” by “a staff employee of
the Records Access and Information Security Management Directorate,” followed by a “second-
level review” “by a more senior member” of the Directorate.” Doc. 1 ¶ 27. Once the iterative
process with the Directorate is completed, “the staff of” the Directorate issues the pro-forma letter
memorializing that the manuscript does not contain classified information. Id. ¶¶ 28–29. At no
point does the process normally involve a third round of review by the National Security Advisor
himself and his hand-picked political appointee, as it did here. See id. ¶ 51. The procedure
defended by the Government would allow it to add review-upon-review atop the normal process
and delay the publication of Ambassador Bolton’s book indefinitely. This arbitrary, additional
layer of review—upon which the Government’s entire lawsuit depends—does not comport with
due process. See Vill. of Hoffman Estates, 455 U.S. at 499.

                                                 27
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     OPPOSITION TO APPLICATION FOR TEMPORARY RESTRAINTING ORDER
                AND MOTION FOR PRELIMINARY INJUNCTION

       “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.

NRDC, 555 U.S. 7, 20 (2008). A preliminary injunction is an “extraordinary remedy,” id. at 24,

and the injunction that the Government has sought here—a prior restraint on core First Amendment

political speech—is uniquely disfavored in American law, see Carroll, 393 U.S. at 181. Because

the Government does not have standing to seek injunctive relief preventing publication of

Ambassador Bolton’s book, its motion for a temporary restraining order and preliminary injunction

should be denied. Alternatively, because the Government cannot carry its burden of showing that

it is entitled to its requested prior restraint of Ambassador Bolton’s political speech, its motion

must be denied.

I.     The Government Is Not Likely To Succeed On The Merits.

       A.      The Government Lacks Standing To Seek A Prior Restraint
               Against Publication Of Ambassador Bolton’s Book Because
               Its Alleged Injury Is Not Redressable.

       Article III of the Constitution limits federal court jurisdiction to “Cases” or

“Controversies.” U.S. CONST., art. III, § 2. To demonstrate standing, a plaintiff must show (1)

“injury in fact” in the form of “an invasion of a legally protected interest which is (a) concrete and

particularized . . . and (b) actual or imminent, not conjectural or hypothetical”; (2) “a causal

connection between the injury and the conduct complained of”; and (3) that it is “likely, as opposed

to merely speculative, that the injury will be redressed by a favorable decision.” Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560–61 (1992) (quotation marks and citations omitted). The Government’s

request for a temporary restraining order and preliminary injunction compelling Ambassador

                                                  28
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Bolton to prevent his book from being released to the public—an order that he is powerless to

perform—would do nothing to redress the Government’s alleged injury. The Government thus

lacks standing to seek this form of relief, and its motion must be denied.

        “[A] plaintiff must demonstrate standing for each claim he seeks to press and for each

form of relief that is sought.” Town of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1650 (2017)

(emphasis added). Thus, quite apart from whether the Government has standing to seek monetary

relief against Ambassador Bolton, it must separately demonstrate standing to seek a preliminary

injunction restraining publication of his book. See City of Los Angeles v. Lyons, 461 U.S. 95, 105

(1983) (plaintiff “presumably” had standing to seek damages but lacked standing to seek

preliminary injunctive relief). And because standing is “a threshold matter [that] spring[s] from

the nature and limits of the judicial power,” it must be addressed before the merits. Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 94–95 (1998) (second alteration in original) (quotation

marks omitted). The Government must demonstrate standing “under the heightened standard for

evaluating a motion for summary judgment . . . Thus, the plaintiff cannot rest on . . . mere

allegations, but must set forth by affidavit or other evidence specific facts that, if taken to be true,

demonstrate a substantial likelihood of standing.” Elec. Privacy Info. Ctr. v. Presidential Advisory

Comm’n on Election Integrity, 878 F.3d 371, 377 (D.C. Cir. 2017) (quotation marks omitted).

        The redressability requirement “lies at the core of the standing doctrine” because “[a]n

abstract decision without remedial consequence seems merely advisory, an unnecessary

expenditure of judicial resources that burdens the adversary and carries all the traditional risks of

making bad law and trespassing on the provinces of the executive and legislature.” E.M. v. New

York City Dep’t of Educ., 758 F.3d 442, 450 (2d Cir. 2014) (quoting 13A CHARLES A. WRIGHT &

ARTHUR R. MILLER, FED. PRAC. & PROC. § 3531.6 (3d ed. 2008)); see also Hewitt v. Helms, 482



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U.S. 755, 761 (1987). Where, as here, a plaintiff requests prospective relief in the form of a

declaratory judgment or injunction, the plaintiff must show that “prospective relief will remove

the harm” and the plaintiff “personally would benefit in a tangible way from the court’s

intervention.” Warth v. Seldin, 422 U.S. 490, 505, 508 (1975). “Relief that does not remedy the

injury suffered cannot bootstrap a plaintiff into federal court; that is the very essence of the

redressability requirement.” Steel Co., 523 U.S. at 107.

       Here, the injury for which the Government seeks preliminary relief is the disclosure of

allegedly classified information through the publication of Ambassador Bolton’s book. But over

200,000 copies of the book have already been printed, bound, and distributed to booksellers

throughout the country, and thousands more have shipped internationally. 90 “This includes

shipments to retail booksellers large and small, from large national chains and online entities to a

host of small, independent, booksellers.” 91 And notwithstanding the Government’s erroneous

allegation “on information and belief” that Ambassador Bolton “possess[es] the authority to

continue to delay the release date” of his book, both Ambassador Bolton and his publisher, Simon

& Schuster, have now testified that Ambassador Bolton has no authority to prevent the book from

being released to the public. 92 As the CEO of Simon & Schuster states in his declaration:

       Shortly after the NSC’s conclusion was communicated to it [on April 27, 2020],
       Simon & Schuster took the necessary steps to formally accept the final version of
       the manuscript that Ambassador Bolton submitted, as provided under the terms of
       their publication agreement. Once Simon & Schuster formally accepted the
       manuscript for publication, and initiated the publication process, Ambassador
       Bolton lost any authority/ability he otherwise may have had to prevent or delay the
       Book’s publication. 93


       90
            Bolton Decl., Ex. A ¶ 21; Karp Decl., Ex. Q ¶ 27.
       91
            Karp Decl., Ex. Q ¶ 19.
       92
            Bolton Decl., Ex. A ¶ 21; Karp Decl., Ex. Q ¶ 17.
       93
            Karp Decl., Ex. Q ¶ 17.

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       Indeed, even the Government doubts that Ambassador Bolton has such authority, hedging

its requested order as requiring Ambassador Bolton “to instruct or request his publisher, insofar

as he has the authority to do so, to further delay the release date of The Room Where it Happened

until completion of the prepublication review process” and “to instruct or request his publisher,

insofar as he has the authority to do so, to take any and all available steps to retrieve and dispose

of any copies of The Room Where it Happened that may be in the possession of any third party in

a manner acceptable to the United States.” Doc. 1 at p. 25 (emphases added). Far from shouldering

its burden to establish the redressability of its alleged injury, the Government’s own complaint

effectively admits that it cannot.

       Because declaratory and injunctive relief against Ambassador Bolton “would not prevent

the claimed injury,” Newdow v. Roberts, 603 F.3d 1002, 1011 (D.C. Cir. 2010), such relief would

be “utterly meaningless,” Okpalobi v. Foster, 244 F.3d 405, 426 (5th Cir. 2001) (en banc); see also

Lujan, 504 U.S. at 569–70 (plurality opinion). “The redressability prong is not met when a plaintiff

seeks relief against a defendant with no power to [stop the injury from occurring].” Bronson v.

Swensen, 500 F.3d 1099, 1111 (10th Cir. 2007); see also Duit Const. Co. Inc. v. Bennett, 796 F.3d

938, 941 (8th Cir. 2015). The Government therefore cannot obtain redress from Ambassador

Bolton. See Okpalobi, 244 F.3d at 427 (“Because these defendants have no powers to redress the

injuries alleged, the plaintiffs have no case or controversy with these defendants that will permit

them to maintain this action in federal court.”); Parsons v. U.S. Dep’t of Justice, 801 F.3d 701,

715 (6th Cir. 2015) (“Redressability is typically more difficult to establish where the prospective

benefit to the plaintiff depends on the actions of independent actors.”).

       Nor would “the practical consequence of” an injunction or declaratory judgment against

Ambassador Bolton “amount to a significant increase in the likelihood that the plaintiff would



                                                 31
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obtain relief that directly redresses the injury suffered.” Utah v. Evans, 536 U.S. 452, 464 (2002)

(emphasis added). Again, Ambassador Bolton’s book has been shipped to booksellers across the

country and around the world. 94 Advance “review” copies have been provided to a number of

newspapers and other media, 95 and “virtually every major media organization in the United States

possesses at least one copy of the Book.” 96 The New York Times, the Washington Post, and other

mass audience media outlets have copies of the book, and stories disclosing excerpts of its contents

have already been published. 97

       The Government cannot plausibly argue that Ambassador Bolton has power to stop the

Amazon delivery trucks in America, unshelve the copies in Europe, commandeer the copies in

Canada, and repossess the copies sent to reviewers or in the possession of major newspapers. See

New York Coastal P’ship, Inc. v. U.S. Dep’t of Interior, 341 F.3d 112, 116 (2d Cir. 2003)

(“Plaintiffs-appellants have no standing in this case, because we can only speculate whether the

remedy they seek would redress their purported injuries.”). Nor has the Government provided any

evidence or given any reason to expect that hundreds of booksellers and reviewers with copies of

the book have any legal obligation to return their copies of the book or that they would voluntarily

do so if Ambassador Bolton or Simon & Schuster asked them to do so.98 As Simon & Schuster’s



       94
            Bolton Decl., Ex. A ¶ 21; Karp Decl., Ex. Q ¶ 17.
       95
            Bolton Decl., Ex. A ¶ 21;
       96
            Karp Decl., Ex. Q ¶ 22.
       97
            See Baker, supra; Dawsey, supra; Karp Decl., Ex. Q ¶ 22.
       98
           For this reason, the Government’s request that this Court order Ambassador Bolton “to
notify his publisher that he was not authorized to disclose The Room Where It Happened because
he has not completed prepublication review and because it contains classified information” would
do nothing to redress the Government’s alleged injury. Doc. 1 at p. 25. Moreover, this requested
relief—which cannot plausibly be said to follow from any duty that Ambassador Bolton has under
the nondisclosure agreements—would not only be an unconstitutional attempted prior restraint
(though an ineffectual one); it would separately violate the First Amendment by compelling
                                                 32
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CEO has testified:

       Simon & Schuster no longer maintains control of the copies of the Book that have
       been shipped to the large national chains, online retailers, and small independent
       booksellers referenced in the previous paragraph of this Declaration. Once Simon
       & Schuster shipped them in response to a purchase order, title to the physical copies
       passed to the retailer or wholesaler. 99

The costs already expended in printing and shipping the book (not to mention the income that

would be foregone) strongly suggest that none, let alone all, of those independent third parties will

refrain from selling the book—if they could even do so. Again, as Simon & Schuster’s CEO has

observed:

       [T]he practice of many online booksellers is to ship preordered copies in advance
       of the publication date so that the books arrive on, or very shortly after, the day they
       first become available for purchase at brick-and-mortar stores. As a result, I have
       been advised that certain online retailers have already shipped preordered copies of
       the Book to some of their customers. 100

While “[a] plaintiff need not demonstrate with certainty that her injury will be cured by a favorable

decision,” “she must at least make a showing that there is a substantial likelihood that the relief

requested will redress the injury claimed.” E.M., 758 F.3d at 450 (emphasis added) (quotation

marks omitted). The Government has fallen far short of that standard here.

       Finally, the Government’s tacked-on request for Rule 65(d)(2) relief against Simon &

Schuster does not affect the standing analysis. Rule 65(d)(2) “applies only when a plaintiff validly

invokes federal jurisdiction by satisfying the traceability and redressability requirements

of standing against a defendant. If a plaintiff sues the wrong defendant, an order enjoining the

correct official who has not been joined as a defendant cannot suddenly make the plaintiff’s injury



Ambassador Bolton to speak a message with which he vehemently disagrees. See W. Va. State Bd.
of Educ. v. Barnette, 319 U.S. 624, 640–42 (1943).
       99
            Karp Decl., Ex. Q ¶ 20.
       100
             Id. ¶ 21.

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redressable.” Jacobson v. Fla. Sec’y of State, 957 F.3d 1193, 1209 (11th Cir. 2020) (citation

omitted). “The Federal Rules of Civil Procedure do not create federal jurisdiction.” Id. And an

injunction under Rule 65(d)(2) would not bind the newspapers, independent booksellers, and

retailers to whom the book has already been sent, since Ambassador Bolton and Simon & Schuster

“do[] not control” those “independent third part[ies] that [are] not before the court.” Pulphus v.

Ayers, 909 F.3d 1148, 1153 (D.C. Cir. 2018). 101 In any event, such an injunction would be a clear

violation of the Supreme Court’s holding in New York Times Co., 403 U.S. at 714.

       In short, the Government’s alleged injury cannot be redressed by Ambassador Bolton, and

its motion for a temporary restraining order and preliminary injunction must therefore be denied

for lack of standing.

       B.      Ambassador Bolton Has Not Violated The Nondisclosure Agreements.

       For the reasons described above in support of Defendant’s motion to dismiss, Ambassador

Bolton has not violated the NDAs. However, in its brief, the Government asserts for the first time

that Ambassador Bolton’s book contains SCI and, therefore, that the SCI NDA applied to his

manuscript and required that he receive written authorization from the NSC to publish it. See Doc.

3 at 12–14. This surprise assertion that the book contains SCI, even if true, would not alter the

conclusion that the SCI NDA is inapplicable to this case.

       The Government is not painting on a blank canvas when it asserts that Ambassador

Bolton’s book contains SCI. Rather, the Government’s assertion comes after a six-month course

of dealing between the parties that informs whether and how the NDAs apply. See RESTATEMENT

(SECOND) OF CONTRACTS § 202(4) (1981); see also id. § 223. Ambassador Bolton submitted his


       101
           Aevoe Corp. v. AE Tech Co., 727 F.3d 1375, 1384 (Fed. Cir. 2013), is distinguishable
because Aevoe had standing to sue AE Tech and because the S&F Defendants were the sole
distributors of AE Tech’s infringing product, giving AE Tech some control over S& Defendants.

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manuscript for prepublication review on December 30, 2019. Over the next four months, he (or

his counsel) and Ms. Knight exchanged more than a dozen emails and letters, participated in

numerous phone calls, and sat through more than a dozen hours of face-to-face meetings,

painstakingly reviewing Ambassador Bolton’s manuscript. Yet, in all that time, Ms. Knight never

asserted—or even hinted—that the manuscript contained SCI, even as she asserted that earlier

drafts contained classified information. 102 After conducting an exhaustive process in which she

reviewed the manuscript through least four waves of changes, Ms. Knight concluded that it

contains no classified information—let alone SCI—as the Government concedes. Doc. 1 ¶ 46.

       Nor did Mr. Eisenberg assert in either his June 8 or June 11 letters that the manuscript

contains SCI. Nor did Mr. Ellis assert in his June 16 letter that the manuscript contains SCI. Indeed,

not even the Government’s complaint asserted that the manuscript contains SCI, even as it

specifically alleges that it contains “Confidential, Secret, and Top Secret” information. Doc. 1

¶ 58. The first time that anyone in the Government so much as whispered that the manuscript

contains SCI to either Ambassador Bolton or the public was yesterday, when the Government filed

its motion. For nearly six months, it has been common ground between the NSC and Ambassador

Bolton that his manuscript does not contain SCI. Only now, on the eve of the book’s publication

and in service of seeking a prior restraint, has the Government brought forth this allegation.

       And here is the key point: Ambassador Bolton authorized Simon & Schuster to publish his

manuscript weeks ago, not long after receiving Ms. Knight’s confirmation that the book did not

contain classified information and long before the Government’s first assertion yesterday that the
                        103
book contained SCI.           Thus, at the time Ambassador Bolton proceeded with publishing his



       102
             Bolton Decl., Ex. A. ¶ 24.
       103
             Bolton Decl., Ex. A ¶ 22; Karp Decl., Ex. Q ¶ 17.

                                                 35
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book—a decision that has long-since become irrevocable—he had absolutely no reason to believe

that the book contained SCI. Indeed, quite the opposite: the Government had given him every

reason to believe that it agreed with him that the book did not contain SCI. And if the book did not

contain SCI, the SCI NDA did not apply when Ambassador Bolton authorized the book’s

publication.

       Yet the Government now argues that the SCI NDA did apply based on its discovery of

alleged SCI six months after the prepublication-review process began. If that argument is

sustained—if, that is, an author may be held liable under the SCI NDA even though neither the

author nor the Government believed that the author’s writing contained SCI through four months

of exhaustive prepublication review—it would mean that any federal employee who signs the SCI

NDA would have no choice but to submit any writing, and certainly any writing that could even

theoretically contain SCI, and then await written authorization before publishing that writing. The

risk of liability would simply be too great for any author to proceed with publishing even a writing

that both he and the official in charge of prepublication review believe, in good faith, is not subject

to the SCI NDA.

       Such a regime is flatly inconsistent both with the text of the SCI NDA and the First

Amendment. The SCI NDA lays out specific criteria for determining whether material must be

submitted for prepublication review and must await written authorization from the Government

before being published. Only a work that “contains or purports to contain any SCI or description

of activities that produce or relate to SCI or that [the author] ha[s] reason to believe are derived

from SCI” must be submitted; 104 otherwise, the SCI NDA’s prepublication-review process does

not apply. Yet, the Government’s interpretation of the SCI NDA would render these criteria


       104
             SCI NDA, Ex. C ¶ 4.

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completely superfluous, since it would effectively compel authors to submit all their materials to

the prepublication-review process. See T. Brown Constructors, 132 F.3d at 730–31; 11 WILLISTON

ON CONTRACTS    § 32:5; RESTATEMENT (SECOND) OF CONTRACTS § 203(a).

        The Government’s interpretation would also violate the First Amendment. “The

Constitution gives significant protection from overbroad laws that chill speech within the First

Amendment’s vast and privileged sphere.” Ashcroft v. Free Speech Coal., 535 U.S. 234, 244

(2002). And while it may be more convenient for the Government to impose a sweeping prior

restraint on its employees, “[t]he Government may not suppress lawful speech as the means to

suppress unlawful speech. Protected speech does not become unprotected merely because it

resembles the latter. The Constitution requires the reverse.” Id. at 255. Indeed, the harm done to

the First Amendment by such an all-encompassing prepublication-review requirement is worse

than simply a chilling of expression: “If it can be said that a threat of criminal or civil sanctions

after publication ‘chills’ speech, prior restraint ‘freezes’ it at least for the time.” Nebraska Press

Ass’n v. Stuart, 427 U.S. 539, 559 (1976). As noted above, ambiguous contracts should be

interpreted to avoid expanding a prior restraint or a chill on free expression. See Lowe, 472 U.S.

at 203–11; see also RESTATEMENT (SECOND) OF CONTRACTS § 207.

        Because Ambassador Bolton had no reason to believe that his manuscript contained SCI

and every reason to think it did not, and because the NSC’s chief classification-review authority

confirmed that the book did not contain classified information, let alone SCI, the SCI NDA did

not apply to his manuscript when he authorized its publication, and he cannot be said to have

violated it.




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       C.      The Government Has Not Overcome The Heavy Presumption Against The
               Constitutionality Of The Prior Restraint It Seeks.

       A prior restraint “forbid[s] certain communications when issued in advance of the time that

such communications are to occur.” Alexander v. United States, 509 U.S. 544, 550 (1993). In

Anglo-American law, the concept of a prior restraint originated in Tudor and Stuart England,

where “printing presses and printers were licensed by the government, and nothing could lawfully

be published without the prior approval of a government or church censor.” Id. at 554 n.2. Prior

restraints are not, however, limited to “formal legal sanctions” or situations in which materials

have “been seized or banned by the State.” Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 66–67

(1963). Accordingly, the prepublication review process itself is a “form of prior restraint,” Weaver

v. U.S. Info. Agency, 87 F.3d 1429, 1439 (D.C. Cir. 1996); United States v. Marchetti, 466 F.2d

1309, 1317 (4th Cir. 1972), and, of course, an injunction issued by this Court in an effort to stop

publication of Ambassador Bolton’s book would be a “classic example[] of [a] prior restraint[ ],”

Alexander, 509 U.S. at 550.

       “Any system of prior restraints of expression comes to th[e] Court bearing a heavy

presumption against its constitutional validity.” New York Times Co., 403 U.S. at 714. “[P]rior

restraints on speech and publication are the most serious and the least tolerable infringement on

First Amendment rights.” Nebraska Press Ass’n, 427 U.S. at 559; Carroll, 393 U.S. at 181. “The

damage can be particularly great when the prior restraint falls upon the communication of news

and commentary on current events.” Nebraska Press Ass’n, 427 U.S. at 559.

       The Federal Government, to be sure, “has a compelling interest in protecting both the

secrecy of information important to our national security and the appearance of confidentiality so

essential to the effective operation of our foreign intelligence service,” which is why the Supreme

Court has sustained the constitutionality of a prepublication review process in principle (though

                                                38
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not the specific process at issue in this case). Snepp v. United States, 444 U.S. 507, 509 n.3 (1980)

(per curiam). Ambassador Bolton does not challenge that holding here, and the Government’s

extended defense of prepublication review in general is therefore entirely beside the point. See

Doc. 3 at 15–19. What the Supreme Court has never done, however—and something for which the

Government cites no authority—is approve an injunction barring publication of a book or other

form of expression subject to the prepublication review process.

        The D.C. Circuit has made clear that, while Snepp sustained the Government’s authority

to put in place a prepublication-review system and to impose otherwise-constitutional post-

publication penalties, the Government “would bear a much heavier burden” if it “sought an

injunction against publication of the censored items”—which is exactly what the Government

seeks to do here. McGehee v. Casey, 718 F.2d 1137, 1148 n.22 (D.C. Cir. 1983). Where the

Government seeks an injunction against publication, McGehee instructed that normal prior-

restraint doctrine applies, specifically citing New York Times Co. v. United States and other prior-

restraint cases. See id. Thus, under New York Times, the Government’s request for a preliminary

injunction must fail, even if Ambassador Bolton’s book contained classified information, since the

Supreme Court held that “publishing the contents of a classified study” was insufficient to justify

a prior restraint. 403 U.S. at 714. The Government does not argue that it can prevail under normal

prior-restraint principles, so its request for preliminary-injunctive relief fails.

        Even under the slightly less-demanding standard that the D.C. Circuit applies to

prepublication review cases where the Government does not seek an injunction, the Government

is not entitled to an injunction. “ ‘[T]he government has no legitimate interest in censoring

unclassified materials,’ and, thus, ‘may not censor such material, contractually or

otherwise.’ ” Wilson v. CIA, 586 F.3d 171, 185 (2d Cir. 2009) (quoting McGehee v. Casey, 718



                                                   39
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F.2d at 1141. It follows that “[i]f . . . the information was not classified properly, then [the author]

may publish the manuscript.” Stillman v. CIA, 319 F.3d 546, 548 (D.C. Cir. 2003).

        Given the obvious danger that classification will be abused to suppress constitutionally

protected speech, in determining whether the Government has properly classified the information

that it says is still contained in Ambassador Bolton’s manuscript despite the exhaustive

prepublication review to which it has been subjected, “courts should conduct a de novo review of

the classification decision.” McGehee, 718 F.2d at 1148; see also Wilson, 586 F.3d at 186 n.17

(comparing review of classification decision to de novo standard of review under FOIA). While

courts must “giv[e] deference to reasoned and detailed [agency] explanations of” a classification

decision, they owe no deference to the classification decision itself. McGehee, 718 F.2d at 1148

(emphasis added); see also Wilson, 586 F.3d at 185; Shaffer, 102 F. Supp. 3d at 10–11. Rather, the

court must satisfy itself “from the record, in camera or otherwise, that the [Government] in fact

had good reason to classify, and therefore censor, the materials at issue.” McGehee, 718 F.2d at

1148. For this reason, the D.C. Circuit has held a court may “require that [Government]

explanations justify censorship with reasonable specificity, demonstrating a logical connection

between the deleted information and the reasons for classification.’ ” Id.

        These are no mere exhortations. See Penguin Books USA Inc. v. Walsh, 756 F. Supp. 770,

786–87 (S.D.N.Y.) (reversing prepublication censorship decision based on First Amendment),

judgment vacated on other grounds, appeal dismissed, 929 F.2d 69 (2d Cir. 1991). This Court has,

in fact, reversed prepublication censorship decisions before. In Wright v. FBI, two members of the

FBI Counter-Terrorism Task Force sought to publish writings critical of the FBI’s

counterterrorism policy, but the agency objected to numerous passages. 613 F. Supp. 2d 13, 16–

19 (D.D.C. 2009). This Court carefully examined each objected-to portion of the writings, placing



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the burden firmly on the Government to provide “individualized justifications for censoring” each

passage. Id. at 30; see also id. at 27–29 (examining censorship justifications page-by-page). It

demanded that the Government “link a particular [passage] to a specific threat to a specific

Government interest.” Id. at 31. In the end, this Court found that the Government had “fallen far

short” of its obligation to justify censoring the material, id., and it reversed the suppression of all

but one of the passages to which the Government objected, id. at 24–32.

       Similarly, in Shaffer, a military intelligence officer wrote a book about his experiences

serving in Afghanistan and submitted it for prepublication review. 102 F. Supp. 3d at 3–4. The

Government objected to several passages in the book as being classified. Id. at 4. Only after Shaffer

spent years in litigation did the Government finally and begrudgingly concede that some of the

information contained in Shaffer’s book had been publicly disclosed by the agency itself. Id. at

11–12. This Court entered summary judgment for Shaffer as to the publicly disclosed information,

holding that “it cannot be censored, and it can be published.” Id. at 12.

       The same result is required here. The burden of proving that Ambassador Bolton’s

manuscript contains classified information that justifies the imposition of a prior restraint is

entirely on the Government, so the Ambassador need not offer any evidence proving that his

manuscript contains no classified material. See Berntsen v. CIA, 618 F. Supp. 2d 27, 28 (D.D.C.

2009) (performing a “searching review” of the Government’s classification decision even though

the plaintiff had not contested the agency’s evidence). Nonetheless, Ambassador Bolton has now

testified that, in his professional judgment as a former senior official and classification authority,

nothing in his manuscript may properly be deemed classified. 105 As the Government admits,

Ambassador Bolton’s judgment has been confirmed by the NSC’s senior career prepublication


       105
             Bolton Decl., Ex. A ¶ 3.

                                                  41
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authority, who personally conducted the intensive, four-month prepublication review and

concluded that no further edits were necessary after insisting on numerous page-by-page, line-by-

line revisions to the manuscript. 106 See Doc. 1 ¶ 46. Not until press reports surfaced alerting the

White House to the impending release of Ambassador Bolton’s book—following six weeks of

dead silence after Ms. Knight signed off on the manuscript—did anyone in the Government assert

that Ambassador Bolton’s book contained classified information. 107

       This last-minute assertion must be evaluated against the overwhelming evidence, see infra

pp. 45–47, that the White House sought to use the prepublication-review process to block the

release of Ambassador Bolton’s book, at least until after the election. See McGehee, 718 F.2d at

1148–49 (courts “should not rely on a presumption of regularity” in assessing a prepublication

classification determination (quotation marks omitted)); Wright, 613 F. Supp. 2d at 15 (concluding

that FBI had engaged in a “determined effort[ ]” “to censor various portions of a 500–page

manuscript . . . severely criticizing the FBI’s conduct”); Agee v. CIA, 500 F. Supp. 506, 509

(D.D.C. 1980) (describing “evidence indicating that the CIA’s past enforcement record bears a

considerable correlation with the agency’s perception of the extent to which the material is

favorable to the agency”). As the President openly vowed in February, a few weeks after the

prepublication-review process began: “We’re going to try and block the publication of [Bolton’s]

book. After I leave office, he can do this.” 108 There can be no serious dispute about what is

happening here: the White House is attempting to misuse the national-security apparatus of the




       106
             Id. ¶¶ 10, 16.
       107
             Id. ¶ 24.
       108
             Dawsey, et al., supra.

                                                42
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Executive Branch to censor Ambassador Bolton, and the Government is asking this Court to tie

the gag. 109

        D.     Ambassador Bolton’s Contract Does Not Entitle
               The Government To A Prior Restraint.

        The Government’s claim that the contract Ambassador Bolton signed justifies a prior

restraint must be rejected for two independent reasons. First, because Ambassador Bolton’s book

does not contain classified information, the Government “may not censor such material,

contractually or otherwise.” McGehee, 718 F.2d at 1141 (emphasis added). The Government “may

not deny a benefit to a person on a basis that infringes his constitutionally protected interests—

especially, his interest in freedom of speech.” Perry v. Sindermann, 408 U.S. 593, 597 (1972).

“For if the government could deny a benefit to a person because of his constitutionally protected

speech or associations, his exercise of those freedoms would in effect be penalized and inhibited.

This would allow the government to produce a result which (it) could not command directly.” Id.

(quotation marks omitted). Because “[t]he government has no legitimate interest in censoring

unclassified material,” McGehee, 718 F.2d at 1141, any contractual provision allowing the

Government to censor Ambassador Bolton’s unclassified political expression after he has left

office would be an unenforceable, unconstitutional condition on public employment, see id. at 1141

n.10 (“the government may not impose unconstitutional conditions on government employment”);

Speiser v. Randall, 357 U.S. 513, 526 (1958). 110


        109
            At the very least, if this Court has any doubt about the impropriety of the Government’s
classification assertions, it should permit Ambassador Bolton to test the good faith of the
Government’s claim through expedited discovery before imposing a prior restraint.
        110
           For the same reason, the Government’s argument that Ambassador Bolton waived his
First Amendment rights protecting him against an unconstitutional condition of his public
employment is meritless. See Doc. 3 at 21–22. Moreover, while the NDAs stated “I understand
that the United States Government may seek any remedy available to it to enforce this Agreement
including, but not limited to, application for a court order prohibiting disclosure of information in
                                                 43
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       Second, the nondisclosure agreements are unenforceable because the Government has

violated the covenant of good faith and fair dealing that is implied in all contracts, including

Government contracts. “The covenant of good faith and fair dealing is an implied duty that each

party to a contract owes to its contracting partner.” Centex Corp. v. United States, 395 F.3d 1283,

1304 (Fed. Cir. 2005). “The covenant imposes obligations on both contracting parties that include

the duty not to interfere with the other party’s performance and not to act so as to destroy the

reasonable expectations of the other party regarding the fruits of the contract.” Id.

(citing RESTATEMENT (SECOND) OF CONTRACTS, § 205 (1981)); 13 WILLISTON ON CONTRACTS §

77:10; M/A–COM Sec. Corp. v. Galesi, 904 F.2d 134, 136 (2d Cir. 1990); Polito v. Cont’l Cas.

Co., 689 F.2d 457, 463 (3d Cir. 1982); Concrete Specialties v. H.C. Smith Constr. Co., 423 F.2d

670 (10th Cir. 1970)). It is well settled that the Government is subject to this duty to the same

extent as private parties. E.g., Rumsfeld v. Freedom NY, Inc., 329 F.3d 1320, 1330 (Fed. Cir.

2003); Essex Electro Eng’rs, Inc. v. Danzig, 224 F.3d 1283, 1291 (Fed. Cir. 2000); Malone v.

United States, 849 F.2d 1441, 1445 (Fed. Cir.), modified, 857 F.2d 787 (Fed. Cir. 1988).

       Here, Ambassador Bolton submitted his manuscript, out of an abundance of caution, for

the express purpose of ensuring that the manuscript did not contain any information that

reasonably could be considered classified. He reasonably expected that that purpose would be

shared and respected at the other end of the prepublication-review process. Indeed, that limited

purpose is also required by Executive Order 13526, which expressly prohibits classifying

information to “conceal violations of law,” “prevent embarrassment to a person, organization, or

agency,” or “prevent or delay the release of information that does not require protection in the



breach of this Agreement,” SCI NDA, Ex. C ¶ 7 (emphasis added), Ambassador Bolton’s argument
here is that a prior restraint is not “available” to the Government because, inter alia, such relief
violates the First Amendment.

                                                44
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interest of the national security.” 75 Fed. Reg. 707, 710 (2009). And Ambassador Bolton’s

reasonable expectation was further confirmed by Ms. Knight’s assurance at the outset of the

process that “the sole purpose of prepublication security review is to ensure that SCI or other

classified information is not publicly disclosed.” 111

       Yet, the evidence is overwhelming that the Government’s assertion that the manuscript

contains classified information, like the corrupted prepublication review process that preceded it,

is pretextual and in bad faith:

       •           On January 29, the President tweeted that Ambassador Bolton’s book is “nasty &
                   untrue,” thus implicitly acknowledging that its contents had been at least partially
                   described to him. He also said that the book was “All Classified National
                   Security.” 112

       •           On February 3, Vanity Fair reported that the President “has an enemies list,” that
                   “Bolton is at the top of the list,” and that the “campaign against Bolton” included
                   Ms. Knight’s January 23 letter asserting that the manuscript contained classified
                   information. 113 It also reported that the President “wants Bolton to be criminally
                   investigated.” 114

       •           On February 21, the Washington Post reported that “President Trump has directly
                   weighed in on the White House [prepublication] review of a forthcoming book by
                   his former national security adviser, telling his staff that he views John Bolton as
                   ‘a traitor,’ that everything he uttered to the departed aide about national security is
                   classified and that he will seek to block the book’s publication.” 115 The President
                   vowed: “[W]e’re going to try and block the publication of [his] book. After I leave
                   office, he can do this.” 116

       •           As described in detail above, Ambassador Bolton’s book went through a four-
                   month prepublication-review process with the career professionals at NSC, during
                   which he made innumerable revisions to the manuscript in response to Ms. Knight’s

       111
             See Letter from Charles J. Cooper, Ex. F at 1.
       112
              Donald J. Trump (@realDonaldTrump), TWITTER (Jan. 29, 2020, 7:28 AM),
https://bit.ly/31fBLmU.
       113
             Sherman, supra.
       114
             Id.
       115
             Dawsey, et al., supra.
       116
             Id.

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            concerns. At the end of that exhaustive process, she stated that she had no further
            edits to the manuscript, 117 thereby confirming, as the Government has admitted,
            that she had concluded that it did not contain any classified information. 118

•           At the conclusion of the prepublication-review process on April 27, Ms. Knight
            thought that Ambassador Bolton was entitled to receive the pro-forma letter
            clearing the book for publication and suggested that it might be ready that same
            afternoon. 119 She and Ambassador Bolton even discussed how the letter should be
            transmitted to him. 120

•           During that same April 27 conversation, Ms. Knight described her “interaction”
            with unnamed others in the White House about the book as having “been very
            delicate,” 121 and she had “some internal process considerations to work through.”

•           After April 27, six weeks passed without a word from the White House about
            Ambassador Bolton’s manuscript, despite his requests for a status update. 122

•           When the White House finally had something new to say, it was to assert its current
            allegations of classified information on June 8, in a letter that—by the White
            House’s own admission—was prompted by press reports that the book was about
            to be published. 123

•           Even though the manuscript was submitted to NSC on December 30, 2019, and
            despite the exhaustive four-month review and the six weeks of silence that had
            passed since Ms. Knight’s approval of the manuscript on April 27, the White
            House’s June 8 letter gave itself until June 19—only four days before the book was
            due to be published—to provide Ambassador Bolton’s counsel with a redacted copy
            of the book identifying the passages the White House purported to believe were
            classified.

•           On the eve of this lawsuit being filed, in response to a question about this lawsuit,
            the President stated: “I told that to the attorney general before; I will consider every
            conversation with me as president highly classified. So that would mean that if he



117
      Bolton Decl., Ex. A ¶ 16.
118
      Id.; Doc. 1 ¶ 46.
119
      Bolton Decl., Ex. A ¶ 17.
120
      Id.
121
      Id.
122
      Id. ¶¶ 17–20.
123
      See Letter from John Eisenberg, Ex. L.

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                 wrote a book, and if the book gets out, he’s broken the law.” 124 The President
                 reiterated: “Any conversation with me is classified.” 125 The President added that “a
                 lot of people are very angry with [Bolton] for writing a book” and that he “hope[d]”
                 that Ambassador Bolton “would have criminal problems” due to having published
                 the book. 126

       •         On June 16, the NSC provided to Ambassador Bolton a copy of the manuscript with
                 wholesale redactions removing the portions it now claims are classified. Consistent
                 with President Trump’s claim, statements made by the President have been
                 redacted, as have numerous passages that depict the President in an unfavorable
                 light. 127

       It is clear from this evidence that the White House has abused the prepublication-review

and classification process, and has asserted fictional national security concerns as a pretext to

censor, or at least to delay indefinitely, Ambassador Bolton’s right to speak. That is a clear

violation of the covenant of good faith and fair dealing governing the nondisclosure agreements.

Accordingly, those agreements are not enforceable and cannot justify any relief to the Government,

let alone a prior restraint. See Metcalf Const. Co. v. United States, 742 F.3d 984, 991 (Fed. Cir.

2014) (covenant of good faith and fair dealing “prevents a party’s acts or omissions that, though

not proscribed by the contract expressly, are inconsistent with the contract’s purpose and deprive

the other party of the contemplated value.”).

II.    The Remaining Factors Favor Denial of Preliminary Injunctive Relief.

       Because there is no classified information in the book, the Government will not suffer any

irreparable harm absent the issuance of the injunctive relief it seeks. Indeed, even if there was

classified information in the book, neither Ambassador Bolton nor Simon & Schuster have the



       124
           See Press Conference, President Donald J. Trump at 0:54–1:05, (Jun. 15, 2020)
(emphasis added), https://politi.co/2Y2Vo1i.
       125
             Id. at 4:18–21.
       126
             Id. at 1:05–08, 1:30–36.
       127
             Bolton Decl., Ex. A ¶ 23.

                                                  47
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ability to stop its release to the public because it has already been printed, bound, and shipped to

booksellers throughout the country and around the world, so the Government would suffer its

injury regardless of whether an injunction is entered against Ambassador Bolton. 128 At the same

time, issuance of a prior restraint would inflict immediate and irreparable harm on both

Ambassador Bolton and the public. Even if there was classified information in the book (and there

is not), the Supreme Court has squarely held that the issuance of a prior restraint to enjoin

publication of allegedly classified information on matters of public import is prohibited by the

First Amendment. See New York Times Co., 403 U.S. at 713. “The loss of First Amendment

freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury.” Elrod

v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion); see also Archdiocese of Washington v.

Washington Metro. Area Transit Auth., 897 F.3d 314, 334 (D.C. Cir. 2018). Notably, Elrod cited

for New York Times Co., 403 U.S. at 713, that proposition. The Government has asked the Court

to issue a prior restraint by censoring Ambassador Bolton and suppressing his constitutionally

protected speech on matters of immediate and significant public importance. Finally, the public

interest and balance of equities factors “merge when the Government is the opposing party,” Nken

v. Holder, 556 U.S. 418, 435 (2009), and “enforcement of an unconstitutional law is always

contrary to the public interest,” Gordon v. Holder, 721 F.3d 638, 653 (D.C. Cir. 2013); see also

Archdiocese of Washington, 897 F.3d at 335. The Government dismisses the harm to Ambassador

Bolton as “merely a delay of the publication of his book,” Doc. 3 at 26, but the Supreme Court has

held that “[t]he damage can be particularly great when,” as here, “the prior restraint falls upon the

communication of news and commentary on current events,” Nebraska Press Ass’n, 427 U.S. at




       128
             Bolton Decl., Ex. A ¶ 21.

                                                 48
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559, where “[a] delay of even a day or two may be of crucial importance in some instances,”

Carroll, 393 U.S. at 182. The Government cannot succeed on these factors.

                                        CONCLUSION

       For the foregoing reasons, Ambassador Bolton respectfully submits that this Court should

deny the Government’s request for a temporary restraining order and preliminary injunction

imposing a prior restraint on the publication of his book, and dismiss all claims against

Ambassador Bolton for failure to state a claim.

June 18, 2020                                          Respectfully submitted,


                                                       /s/ Charles J. Cooper
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                                                       Michael W. Kirk, Bar No. 424648

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           EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,

                       Plaintiff,
                                                     Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,

                       Defendant.


           DECLARATION OF JOHN R. BOLTON IN OPPOSITION TO
      THE UNITED STATES’ EMERGENCYAPPLICATION FOR TEMPORARY
      RESTRAINING ORDER OR MOTION FOR PRELIMINARY INJUNCTION

       Pursuant to 28 U.S.C. § 1746, I, John R. Bolton, hereby declare as follows:


       1.      I have served in numerous senior-level capacities under Presidents Ronald Reagan,

George H.W. Bush, George W. Bush, and Donald J. Trump. For example, I served as Assistant

Attorney General for the Civil Division under President Reagan, Assistant Secretary for

International Organization Affairs at the Department of State under President George H. W. Bush,

Under Secretary of State for Arms Control and International Security under President George W.

Bush, and as Ambassador to the United Nations also under President George W. Bush. Most

recently, I served as National Security Advisor to President Trump from April 9, 2018 through

September 10, 2019. I have been an original classification authority in some of these positions.

       2.      Given my extensive government career in matters relating to national security and

foreign policy, I am thoroughly knowledgeable and experienced in determining what constitutes

classified information and in the proper handling of such information.

       3.      In drafting the manuscript of my book, The Room Where It Happened: A White

House Memoir, I took care to avoid including any classified information. In my judgment, based

on decades of experience handling classified information, the manuscript for my book contained
                                                1
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no classified information before undergoing the prepublication-review process, and it does not

contain classified information today.

       4.      Nevertheless, to ensure that there could be no question of my good-faith compliance

with my obligations, I instructed my counsel, Charles J. Cooper, to submit the draft of my

manuscript to the National Security Council (NSC) for a prepublication review. True and correct

copies of my nondisclosure agreements are attached as Exhibits C and D (with social security

numbers of the signatories redacted) to Defendant’s Combined Memorandum in Support of His

Motion to Dismiss and in Opposition to Plaintiff’s Emergency Application for Temporary

Restraining Order and Motion for Preliminary Injunction (“Def. Mem.”).

       5.      Mr. Cooper submitted the manuscript on December 30, 2019, to Ms. Ellen Knight,

Senior Director for Records, Access, and Information Security Management at the National

Security Council, the office responsible for conducting the prepublication review process for the

NSC. See Letter from Charles J. Cooper to Ellen Knight, Senior Director for Records, Access, and

Information Security Management, National Security Council (Dec. 30, 2019), Def. Mem. Ex. F

       6.      I undertook, in good faith, an exhaustive and lengthy iterative prepublication review

process of my manuscript. Over the course of four months, Ms. Knight, who personally conducted

the review with the assistance of a senior member of her staff, and I painstakingly reviewed the

nearly 500-page manuscript through four waves of changes, page by page and often line by line.

During that period, the book’s announced publication date had to be pushed back twice.

       7.      Ms. Knight wrote on January 23 that my manuscript contained “significant amounts

of classified information” and that she would provide “detailed guidance regarding next steps that

should enable you to revise the manuscript and move forward as expeditiously as possible.” See




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Letter from Ellen Knight, Senior Director for Records, Access, and Information Security

Management, National Security Council, to Charles J. Cooper (Jan. 23, 2020), Def. Mem. Ex. H.

       8.      On January 26, the New York Times published an article purporting to describe

passages from my manuscript that bore on the ongoing impeachment trial. I do not know who the

source of that disclosure was. The government’s baseless insinuation that I was the source of this

disclosure to the press is completely and categorically false.

       9.      On February 7, Ms. Knight advised my counsel Mr. Cooper that “to further the

iterative process, it would be most efficient for me to meet with your client to review each instance

of classified information in detail.” See Letter from Ellen Knight, Senior Director for Records,

Access, and Information Security Management, National Security Council, to Charles J. Cooper

(Feb. 7, 2020), Def. Mem. Ex. I.

       10.     My first meeting with Ms. Knight, the NSC’s senior career prepublication authority

who personally conducted the intensive, four-month prepublication review, took place on February

21. During the meeting, which lasted four hours, Ms. Knight, as she described it, “reviewed the

preliminary results of three chapters in the draft manuscript in detail with” me. See Letter from

Ellen Knight, Senior Director for Records, Access, and Information Security Management,

National Security Council, to Charles J. Cooper (Feb. 24, 2020), Def. Mem. Ex. J. I took five pages

of handwritten notes, as I and Ms. Knight discussed her specific concerns page by page, line by

line, and sometimes word by word. Ms. Knight and her staff reviewed my notes and returned them

to me unclassified and with redactions on February 24. A true and correct copy of the unclassified,

redacted version of my notes from the February 21 meeting is attached as Def. Mem. Exhibit O.

       11.     On February 24, Ms. Knight wrote that the February 21 meeting had been “most

productive,” and she suggested that “it would be most helpful to the process if we hold one or more



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following meetings . . . to discuss the remaining portions of the draft manuscript.” See Def. Mem.

Ex. J.

         12.   I met with Ms. Knight three more times, on March 2 (approximately four hours),

March 3 (over four hours), and March 4 (approximately three hours). In these meetings, we

reviewed in meticulous detail each of Ms. Knight’s concerns in the remaining 11 chapters, and I

produced 34 pages of handwritten notes. Ms. Knight reviewed my notes and returned them to me

unclassified and with redactions on March 5. See Def. Mem. Ex. O. Following my notes and the

guidance provided by Ms. Knight, I revised my manuscript, and by March 9 I had resubmitted all

14 chapters to begin the second round of the iterative review process.

         13.   I did not hear from Ms. Knight again until March 27, when she wrote: “I appreciate

your efforts to address the classification concerns in the latest draft version you submitted. Many

of the changes are satisfactory. However, additional edits are required to ensure the protection of

national security information. To assist in making the additional required changes, I will provide

a list of required edits and language substitutions to guide you in this next stage of revising the

draft.” See Email from Ellen Knight, Senior Director for Records, Access, and Information

Security Management, National Security Council, to John Bolton, Former National Security

Advisor, National Security Council (Mar. 27, 2020, 3:52 PM), Def. Mem. Ex. K. Her list amounted

to 17 typed, single-spaced pages of comments, questions, suggestions of specific alternative

language, and citations to publicly available source material. A true and correct copy of Ms.

Knight’s unclassified March 27 list is attached as Def. Mem. Exhibit P.

         14.   I responded to all 17 pages on Monday, March 30, accepting the vast majority of

Ms. Knight’s suggestions and proposing alternative solutions to others.




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        15.     In a telephone conversation on April 13, Ms. Knight provided me her much shorter

list of remaining concerns after reviewing my March 30 revisions. Our conversation resulted in

entirely agreed-upon language changes, which were delivered to Ms. Knight the next day, April

14. During the April 13 call, Ms. Knight also said she would review the entire manuscript one

more time, to recheck the issues previously resolved and ensure that she had not overlooked any.

        16.     That final review resulted in two further telephone calls, on April 21 and 24, in

which Ms. Knight conveyed her final round of edits and some additional citations to publicly

available sources. I promptly responded with the requested revisions, and on April 27, Ms. Knight,

after clarifying one previously discussed edit, confirmed “that’s the last edit I really have to provide

for you.” Thus, Ms. Knight confirmed that she did not believe the manuscript contained any

classified information.

        17.     At the conclusion of the prepublication review process on April 27, I asked Ms.

Knight when I could expect to receive the customary pro-forma letter confirming that the book

contained no classified information and was cleared for publication. We even discussed whether

the letter should be transmitted to me by electronic transmission or hard copy. During this same

conversation, Ms. Knight described her “interaction” with unnamed others in the White House

about the book as having “been very delicate,” and noted she had “some internal process

considerations to work through.” She nonetheless thought the letter might be ready that afternoon

but would “know more by the end of the day.” We also discussed whether the letter should be

transmitted by electronic transmission and/or whether I should pick up a hard copy from Ms.

Knight’s office.

        18.     My subsequent inquiries of Ms. Knight as to when I would receive the letter

clearing the book for publication were answered with formal replies that she had nothing new to



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report. I received my last communication from Ms. Knight on May 7. It became obvious that the

White House had no intention of permitting Ms. Knight to issue the pro-forma clearance letter, but

instead was attempting to run out the clock before the election by simply refusing to respond to

my requests.

       19.     After receiving Ms. Knight’s confirmation that the manuscript did not contain

classified information on April 27, I so notified my publisher, Simon & Schuster, which thereafter

scheduled the book for release on June 23, 2020.

       20.     Six weeks of silence from the NSC had passed when, on June 8, following press

reports that the book would be published on June 23, John Eisenberg, Deputy White House

Counsel and the NSC’s counsel, wrote to my counsel, Mr. Cooper, claiming that the manuscript

still contained classified information. See Letter from John Eisenberg, Legal Advisor, National

Security Council, to Charles J. Cooper (Jun. 8, 2020), Def. Mem. Ex. L

       21.     Simon & Schuster has printed, bound, and shipped tens of thousands, if not

hundreds of thousands, of copies of the book to booksellers across the country and internationally.

For example, thousands of copies have been printed in Australia and the United Kingdom, and

thousands of books have been shipped to Canada and India for sales in those countries beginning

on June 23. A significant number of advance “review” copies of the book have also been provided

to a select group of major newspapers and other mass audience outlets, and the book has been

preordered by customers.

       22.     Under my contract with Simon & Schuster, I have no authority to prevent the book

from being sold to the public. I lost such authority after Simon & Schuster accepted the book for

publication, which occurred several weeks before Mr. Eisenberg’s June 8 letter.




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       23.     On June 16, the NSC provided me with a copy of the revised manuscript with

wholesale redactions removing the portions it now claims are classified. The Government’s

redactions are extensive and sweeping, apparently eliminating passages describing or recounting

a significant majority of the President’s conversations with his advisors and with foreign leaders.

The Government also redacted numerous passages portraying President Trump in an unflattering

light. Along with the redacted copy, the Government sent a cover letter from Deputy Assistant to

the President Michael J. Ellis, who asserted that the redactions were “based on [his] initial review.”

See Letter from Michael J. Ellis, Deputy Assistant to the President, to John R. Bolton (Jun. 16,

2020), Def. Mem. Ex. N.

       24.     At no point in the prepublication process did Ms. Knight, or anyone else at the NSC,

suggest that any version of the manuscript contained Sensitive Compartmentalized Information

(“SCI”). Prior to her approval of the manuscript on April 27, in both her written and oral

communications with me, her sole concern was her view that earlier versions of the manuscript

contained information classified at the Confidential, Secret, and Top Secret levels. Likewise, Mr.

Eisenberg’s letters of June 8 and June 10 and Mr. Ellis’s letter of June 16 did not suggest that my

book revealed SCI, nor did the complaint filed by the Government. The first time anyone ever

suggested such a possibility was in General Nakasone’s declaration of June 17.




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           EXHIBIT C
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           EXHIBIT E
           Case 1:20-cv-01580-RCL Document 9-5 Filed 06/18/20 Page 2 of 2


From:            Chuck Cooper
To:              J. Knight Ellen (ellen.j.knight@nsc.eop.gov)
Bcc:             Chuck Cooper; Michael W. Kirk
Subject:         Prepublication review of Ambassador John Bolton"s book manuscript
Date:            Monday, December 30, 2019 11:33:00 AM


Dear Ms. Knight,
I represent Ambassador John Bolton, and I understand from Mr. Michael Ellis that you
are in charge of the office responsible for prepublication security review of materials
submitted by former National Security Counsel officials. I would like to discuss with
you the process for securely submitting for prepublication review a hard copy of the
manuscript of a book that Mr. Bolton is preparing for publication. Please call me at
your earliest convenience at the number below, or give me a number and time when it
would be convenient for me to call you.
Many thanks,
Chuck Cooper

Charles J. Cooper
Cooper & Kirk, PLLC
1523 New Hampshire Ave., NW
Washington D.C., 20036
202-220-9660
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            EXHIBIT F
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           EXHIBIT G
           Case 1:20-cv-01580-RCL Document 9-7 Filed 06/18/20 Page 2 of 3


From:            Knight, Ellen J. EOP/NSC
To:              Chuck Cooper
Subject:         RE: Prepublication review of Ambassador John Bolton"s book manuscript
Date:            Monday, December 30, 2019 2:50:59 PM


Dear Mr. Cooper,

I have the manuscript in hand and we will begin the review process. I will be in-touch.

Thank you,
Ellen

Ellen J. Knight │Senior Director
Records Access and Information Security Management
National Security Council
Executive Office of the President
202.456.9206 (desk)
202.456.9201 (main office)
Ellen.j.knight@nsc.eop.gov


From: Chuck Cooper <ccooper@cooperkirk.com>
Sent: Monday, December 30, 2019 11:34 AM
To: Knight, Ellen J. EOP/NSC <Ellen.J.Knight@nsc.eop.gov>
Subject: [EXTERNAL] Prepublication review of Ambassador John Bolton's book manuscript

Dear Ms. Knight,
I represent Ambassador John Bolton, and I understand from Mr. Michael Ellis that you
are in charge of the office responsible for prepublication security review of materials
submitted by former National Security Counsel officials. I would like to discuss with
you the process for securely submitting for prepublication review a hard copy of the
manuscript of a book that Mr. Bolton is preparing for publication. Please call me at
your earliest convenience at the number below, or give me a number and time when it
would be convenient for me to call you.
Many thanks,
Chuck Cooper

Charles J. Cooper
Cooper & Kirk, PLLC
1523 New Hampshire Ave., NW
Washington D.C., 20036
202-220-9660




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and do not copy or disclose it to anyone else. If you are not an existing client of C&K, do not
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construe anything in this e-mail to make you a client unless it contains a specific statement to
that effect and do not disclose anything to C&K in reply that you expect to be held in
confidence. If you properly received this e-mail as a client, co-counsel or retained expert of
C&K, you should maintain its contents in confidence in order to preserve any attorney-client
or work product privilege that may be available to protect confidentiality.
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            EXHIBIT Q
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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           :   CIVIL ACTION
                                                    :
               Plaintiff,                           :
                                                    :   Civ. No. 20-1580 (RCL)
               v.                                   :
                                                    :
JOHN R. BOLTON,                                     :
                                                    :
               Defendant.                           :
                                                    :
                                                    :
                                                    :
                                                    :

                            DECLARATION OF JONATHAN KARP

                Jonathan Karp, pursuant to 28 U.S.C. §1746, declares as follows:

        1.      I am the Chief Executive Officer of Simon & Schuster, Inc. (“Simon &

Schuster”).

        2.      I make this declaration in connection with the Government’s Emergency

Application for a Temporary Restraining Order and Motion for a Preliminary Injunction.

        3.      I have personal knowledge of the facts set forth herein, and I would be competent

to testify to these facts if called as a witness.

        4.      I have more than thirty years of experience in book publishing. Prior to joining

Simon & Schuster, I served as editor in chief at Random House, and later as publisher and editor

in chief of Twelve, an imprint I founded that was part of the Hachette Book Group. In 2010, I

left Twelve to become executive vice-president and publisher of Simon & Schuster’s adult

publishing division. In 2018, I became president of that division. I remained in that position

until May of this year, at which point I became Simon & Schuster’s CEO. Prior to entering book
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publishing, I worked as a journalist, including at the Washington Post, the Miami Herald and the

Providence Journal.

       5.      Simon & Schuster is one of the nation’s preeminent publishing houses. Over the

course of the last two decades, it has published many significant works dealing with matters of

national security, including memoirs by important figures in the country’s national security

leadership. These books include, among others, Bush at War by Bob Woodward (2002), Against

All Enemies: Inside America’s War On Terror by Richard A. Clarke (2004), State of War: The

Secret History of the CIA and the Bush Administration by James Risen (2006), Hard Choices: A

Memoir by Hillary Rodham Clinton (2014), Every Day Is Extra by John Kerry (2018), and

Tough Love: My Story of the Things Worth Fighting For by Susan Rice (2019).

       6.      I have personally been involved with the publication of at least three books that

underwent a prepublication review process by the U.S. government: The Threatening Storm: The

Case for Invading Iraq by Kenneth M. Pollack (2002), Hard Choices: A Memoir by Hillary

Rodham Clinton (2014), and Every Day Is Extra by John Kerry (2018).

       7.      In September 2019, Simon & Schuster was approached by representatives of

Ambassador John Bolton about publishing a memoir recounting his experiences working in the

Trump Administration. This was shortly after Ambassador Bolton’s departure from his position

as National Security Advisor, a position he held from April 2018 to September 2019.

       8.      Ambassador Bolton is a highly regarded foreign policy expert, who has held

senior positions in the federal Government in both law enforcement and national security. He

has served in the administration of every Republican president since President Ronald Reagan,

including as United State Ambassador to the United Nations under President George W. Bush.




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He has also written extensively on foreign policy, including a book published by Simon &

Schuster and numerous articles, and has worked as an expert commentator on Fox News.

       9.      On September 25, 2019, Simon & Schuster entered into a publication agreement

with Ambassador Bolton. From that point on, I have been the principal person at Simon &

Schuster responsible for overseeing publication of the book, which is entitled The Room Where It

Happened: A White House Memoir (the “Book”). In the agreement, Ambassador Bolton

warrants and represents, in relevant part, that neither “publication or sale” of the Book would

“violate[] any federal or state statute or regulation thereunder, nor is it in any other matter

unlawful.”

       10.     The Book provides an insider’s account of Ambassador Bolton’s tenure in the

Trump Administration. As has been widely reported, the Book is highly critical of President

Trump and his national security decision-making. In particular, the Book details the basis for

Ambassador Bolton’s view that, in managing foreign policy, President Trump routinely puts his

own interest in being reelected ahead of the national security interests of the United States.

Based on my decades of publishing experience, I have absolute confidence that the Book is a

matter of utmost public importance.

       11.     In late December 2019, representatives of Ambassador Bolton informed Simon &

Schuster that he had elected to submit the Book to the National Security Council (“NSC”) for

prepublication review. As Ambassador Bolton’s attorney, Charles J. Cooper, explained in

correspondence to the NSC dated December 30, 2019, however, “Ambassador Bolton has

carefully sought to avoid any discussion in the manuscript of sensitive compartmented

information (‘SCI’) or other classified information, and we accordingly do not believe that

prepublication review is required.” A copy of Mr. Cooper’s December 30, 2019 correspondence



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to the NSC is attached as Exhibit D to the Declaration of Matthias Mitman submitted by the

Government.

       12.     Mr. Cooper is a highly respected attorney and public servant. Among other

things, he served as a law clerk to Justice William H. Rehnquist and as Assistant Attorney

General in the Office of Legal Counsel from 1985 to 1988 under President Reagan.

       13.     On January 26, 2020, based on Ambassador Bolton’s and his representatives’

expectations concerning the anticipated course of the prepublication review process, Simon &

Schuster set an initial publication date for the Book of March 17, 2020.

       14.     On March 4, 2020, however, Simon & Schuster pushed back the publication date

to May 12, 2020, because Ambassador Bolton informed us that the prepublication review

process remained ongoing.

       15.     On April 27, 2020, representatives of Ambassador Bolton confirmed to Simon &

Schuster that he had been told by the career professional at the NSC responsible for reviewing

the Book that she had completed her review and that the changes he had agreed to make to it

following her advice and guidance were satisfactory. Specifically, Ambassador Bolton’s

representatives told Simon & Schuster that the NSC had informed Ambassador Bolton that he

had successfully made the final change to the Book that it had requested.

       16.     The Government’s Complaint confirms those representations to Simon &

Schuster by Ambassador Bolton and his representatives about the conclusion of the

prepublication review process. The Complaint states, at Paragraphs 45-46, that, on April 27,

2020, Ellen Knight, the NSC’s Senior Director for Records, Access and Information Security

Management, accepted Ambassador Bolton’s last edit and “was of the judgment that the

manuscript draft did not contain classified information.” The Complaint also states that Ms.



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Knight came to that conclusion after working with Ambassador Bolton on the prepublication

review process for four months.

       17.     Shortly after the NSC’s conclusion was communicated to it, Simon & Schuster

took the necessary steps to formally accept the final version of the manuscript that Ambassador

Bolton submitted, as provided under the terms of their publication agreement. Once Simon &

Schuster formally accepted the manuscript for publication, and initiated the publication process,

Ambassador Bolton lost any authority/ability he otherwise may have had to prevent or delay the

Book’s publication.

       18.     In addition, after the NSC’s conclusion was communicated to it, Simon &

Schuster set June 23, 2020 as the new publication date and began the process of readying the

Book for publication. That process involves, among other things, printing copies of the book,

processing orders, and shipping ordered copies to retailers and wholesalers to be available to

customers by the publication date.

       19.     On May 22, 2020, Simon & Schuster began the shipment process. More than

200,000 copies of the Book have already been shipped domestically. This includes shipments to

retail booksellers large and small, from large national chains and online entities to a host of

small, independent, booksellers. Similarly, Simon & Schuster has shipped thousands of copies

of the Book to booksellers around the world, including in Continental Europe, India and the

Middle East.

       20.     Simon & Schuster no longer maintains control of the copies of the Book that have

been shipped to the large national chains, online retailers, and small independent booksellers

referenced in the previous paragraph of this Declaration. Once Simon & Schuster shipped them

in response to a purchase order, title to the physical copies passed to the retailer or wholesaler.



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       21.     In addition, the practice of many online booksellers is to ship preordered copies in

advance of the publication date so that the books arrive on, or very shortly after, the day they

first become available for purchase at brick-and-mortar stores. As a result, I have been advised

that certain online retailers have already shipped preordered copies of the Book to some of their

customers.

       22.     Separate from the copies shipped for sale, virtually every major media

organization in the United States possesses at least one copy of the Book. Beginning on June 5,

2020, Simon & Schuster sent copies to most of the major print, broadcast, and cable news outlets

around the country. Since the Government filed its Complaint, the New York Times, the

Washington Post, and CNN have all published lengthy news reports disclosing the contents of

the Book in great detail, including that President Trump asked Chinese President Xi Jinping to

help him with his reelection bid by increasing agricultural purchases from United States farmers.

Those news reports are available here, https://www.nytimes.com/2020/06/17/us/politics/bolton-

book-trump-impeached.html, here, https://www.washingtonpost.com/politics/trump-asked-

chinas-xi-to-help-him-win-reelection-according-to-bolton-book/2020/06/17/d4ea601c-ad7a-

11ea-868b-93d63cd833b2_story.html, and here,

https://www.cnn.com/2020/06/17/politics/bolton-book-what-we-learned/index.html. And,

yesterday, the Wall Street Journal published an extensive excerpt from the Book, which can be

found here: https://www.wsj.com/articles/john-bolton-the-scandal-of-trumps-china-policy-

11592419564.

       23.     I have read the Book in its entirety. Although I do not consider myself an expert

in national security matters, based on my review, it seems inconceivable to me that it contains

any information that is properly classified or that would otherwise harm national security. To be



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sure, the Book contains information that is likely to be highly embarrassing to the Administration

and the President, but my understanding is that embarrassment alone is not sufficient reason to

classify information. I am, therefore, not at all surprised that, nearly two months ago, Ms.

Knight, the career professional responsible for reviewing the Book at the NSC, concluded

similarly.

       24.     I understand that the Government now claims that it later developed concerns

about classified material in the Book. But, the Complaint’s description of the process that led to

those concerns provides every reason to be skeptical. In the Complaint, the Government admits,

at Paragraphs 51-52, that, after Ms. Knight determined that the Book contained no classified

information, and communicated that conclusion to Ambassador Bolton, Michael Ellis, the NSC’s

Senior Director for Intelligence, was recruited to restart the prepublication review process, which

had already significantly delayed the Book’s publication. In my experience with the

Government’s prepublication review processes, such intervention is, at best, highly unusual. As

an analysis published yesterday in the Washington Post explains, Mr. Ellis is a political

operative, not a career professional, and he has a documented history of politicizing intelligence

and classification issues. That analysis can be found here:

https://www.washingtonpost.com/politics/2020/06/17/trump-official-said-john-boltons-book-

contained-no-classified-info-then-trump-loyalists-intervened/.

       25.     The many public statements President Trump has made about the Book further

reinforce my belief that the Trump Administration’s actual objective is to shield the President

from an unflattering portrait of his leadership and not to protect the national security interests of

the United States. Just this morning, the President tweeted that he has apparently sought to

prevent the Book’s publication because it “is made up of lies & fake stories.” And, earlier this



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week, the President stated, in response to a question about why he would seek to prevent the

Book’s publication, that he “consider[s] every conversation with me as president to be highly

classified.”

        26.    For all these reasons, I cannot help but conclude that President Trump has

politicized the prepublication review process, including through this lawsuit, and that he is using

it as a pretext to prevent the release of information of immense interest to the public that he fears

could be damaging to his prospects for reelection.

        27.    I understand that, in its court papers, the Government seeks to enjoin Simon &

Schuster, a non-party to this action, from distributing additional copies of the Book and to force

it to take steps to secure from its accounts the return of those copies that have already been

shipped. As set out in this Declaration, Simon & Schuster has virtually no ability to comply with

such an injunction because more than 200,000 copies of the Book have already been shipped,

including to retail purchasers from online booksellers; copies of the Book are already in the

possession of virtually every major news organization in the United States, some of which have

already published detailed accounts of the Book’s contents; and Simon & Schuster no longer has

control over any of those copies. More importantly, the Government’s effort to secure an

injunction against Simon & Schuster, the non-party publisher of a book that addresses matters of

the utmost public concern, is a transparent attempt to circumvent the First Amendment’s heavy

presumption against prior restraints. Whatever the legal ramifications of the various non-

disclosure agreements referenced in the Complaint may be for Ambassador Bolton, they are

irrelevant to Simon & Schuster’s First Amendment right to publish.

        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,

                          Plaintiff,
                                                       Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,

                          Defendant.


              [PROPOSED] ORDER REGARDING PLAINTIFF’S EMERGENCY
                APPLICATION FOR TEMPORARY RESTRAINING ORDER
                   AND MOTION FOR PRELIMINARY INJUNCTION

          Before this Court is Plaintiff’s application for temporary restraining order and motion for

preliminary injunction. Upon consideration of the motion, the briefing in support and opposition

to the motion, and all other parts of the record, Plaintiff’s motion is DENIED. The Court holds

that Plaintiff is unlikely to succeed on the merits; Plaintiff is unlikely to suffer irreparable harm

without preliminary-injunctive relief; the balance of equities favors Defendant; and granting a

preliminary injunction would not be in the public interest. See Winter v. NRDC, 555 U.S. 7, 20

(2008).



Dated:_______________                                ____________________________
                                                      HONORABLE ROYCE C. LAMBERTH
                                                      United States District Court Judge
